          Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 1 of 78




                                     No. 21-15163

                    UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                  _________________________________________

               NATURAL RESOURCES DEFENSE COUNCIL, et al.,
                                     Plaintiffs-Appellants,

                                             v.

      DEB HAALAND, in her official capacity as Secretary of the Interior, et al.
                                           Defendants-Appellees,

            GLENN-COLUSA IRRIGATION DISTRICT, et al.,
                                    Intervenor-Defendants-Appellees
__________________________________________________________________

 On Appeal from the United States District Court, Eastern District of California
         Case No. 1:05-cv-01207-DAD-EPG (Hon. Dale A. Drozd)
__________________________________________________________________

            PLAINTIFFS-APPELLANTS’ OPENING BRIEF
__________________________________________________________________
    KATHERINE POOLE                               HAMILTON CANDEE
    DOUGLAS ANDREW OBEGI                          BARBARA J. CHISHOLM
    Natural Resources Defense Council             CORINNE JOHNSON
    111 Sutter Street, 21st Floor                 Altshuler Berzon LLP
    San Francisco, CA 94104                       177 Post St., Ste. 300
    (415) 875-6100                                San Francisco, CA 94108
                                                  (415) 421-7151

    Counsel for Plaintiff-Appellant               Counsel for Plaintiff-Appellant
    Natural Resources Defense Council             Natural Resources Defense Council

    (Additional counsel on following page)


 Deb Haaland is substituted for her predecessor, Scott de la Vega, pursuant to Fed.
R. App. P. 43(c)(2).
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 2 of 78




STACEY P. GEIS
NINA ROBERTSON
MARIE E. LOGAN
Earthjustice
50 California St., Suite 500
San Francisco, CA 94111
(415) 217-2000

Counsel for Plaintiffs-Appellants
         Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 3 of 78




                  CORPORATE DISCLOSURE STATEMENT
        Under Federal Rule of Appellate Procedure 26.1, Plaintiffs-Appellants
Natural Resources Defense Council, San Francisco Baykeeper, Friends of the

River, The Bay Institute, and Pacific Coast Federation of Fishermen’s
Associations/Institute for Fisheries Resources certify that they have no parent
corporations and that no publicly held corporation owns them or any part of them.

The Winnemem Wintu Tribe is not a nongovernmental corporation under Rule
26.1.




                                          i
            Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 4 of 78




                                        TABLE OF CONTENTS
                                                                                                              Page

CORPORATE DISCLOSURE STATEMENT ..........................................................i
TABLE OF AUTHORITIES ....................................................................................iv
INTRODUCTION ..................................................................................................... 1
JURISDICTIONAL STATEMENT .......................................................................... 2
ISSUES PRESENTED............................................................................................... 3
STATEMENT OF THE CASE .................................................................................. 3
         A. The Central Valley Project and SRS and DMC Contracts ....................... 3
         B. ESA-Listed Fish Affected by the Contracts .............................................. 6
         C. Reclamation’s History of Consultation on the Contracts ......................... 8
         D. Challenged Agency Actions and Procedural History ............................. 11
         E. 2019 CVP/SWP Biological Opinions ..................................................... 14
STANDARD OF REVIEW .....................................................................................14
SUMMARY OF ARGUMENT ...............................................................................15
ARGUMENT ...........................................................................................................16

I. The 2015 Consultation On The Effects Of The Renewed Contracts On
   Delta Smelt Was Arbitrary, Capricious And Contrary To Law ......................... 16
       A. By Relying Exclusively on the 2008 FWS BiOp, FWS Failed to
          Consider Important Aspects of the Problem ...........................................17
       B.     FWS Ignored the Best Available Science ...............................................21

       C.     FWS Ignored Degraded Baseline Conditions and Relied on
              Incorrect Assumptions ............................................................................25
       D. FWS Failed to Consider the Entire Scope of the SRS Contracts............26
       E.     FWS Impermissibly Deferred Analysis of the Contracts’ Effects..........29


                                                          ii
            Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 5 of 78




       F.     FWS Failed to Articulate a Rational Connection Between its
              Conclusion and the Evidence, and its Conclusion Is Counter
              to the Evidence ........................................................................................30
II. Reclamation Is Violating Its ESA Duties To Consult On The Contract
    Renewals’ Effects on Delta Smelt And To Avoid Jeopardizing Delta Smelt ... 31

       A. Reclamation Has Never Performed a Valid Delta Smelt
          Consultation on the Renewal of the Contracts ........................................31
       B.     Reclamation Obstructed the 2015 Consultation by Misrepresenting
              its Discretion in Renewing the SRS Contracts .......................................33
III. The District Court Erred In Dismissing NRDC’s Claim That Reclamation
     Was Obligated To Reinitiate Consultation Regarding The SRS Contracts’
     Effects on ESA-Listed Chinook Salmon ........................................................... 41
       A. The Terms of the SRS Contracts Confirm that Reclamation Retains
          Discretionary Involvement and Control ..................................................44

              1. Reclamation can take action during the term of the contracts to
                 implement protections recommended in biological opinions ............44

              2. Reclamation has broad discretion over project water ........................47

              3. Reclamation has discretionary authority over the SRS
                 Contractors’ sales of contract water ...................................................49
              4. Reclamation has discretion under the contracts to reduce water
                 releases when necessary to protect species under state or
                 federal law ..........................................................................................50
       B. Federal and State Law Independently Authorize Reclamation to
          Implement Water Contacts to Protect Species ........................................52
CONCLUSION ........................................................................................................54

SIGNATURE ATTESTATION...............................................................................55

CERTIFICATE OF COMPLIANCE .......................................................................56

STATUTORY ADDENDUM .......................................................................... Add-1



                                                          iii
           Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 6 of 78




                                     TABLE OF AUTHORITIES
                                                                                                           Page(s)

Federal Cases

Conner v. Burford,
  848 F.2d 1441 (9th Cir. 1988) ..........................................................21, 26, 27, 29

Cottonwood Env’tl L. Ctr. v. U.S. Forest Serv.,
  789 F.3d 1075 (9th Cir. 2015) ............................................................................ 43

Crowman Corp. v. United States,
  51 Fed. Cl. 654 (2002) ........................................................................................ 43

Ctr. for Biological Diversity v. Envt’l Protection Agency,
   847 F.3d 1075 (9th Cir. 2017) ............................................................................ 42
Ctr. for Biological Diversity v. Raimondo,
   No. 19-cv-05206-JST, Dkt. 168 (N.D. Cal. July 5, 2022).................................... 8
Ctr. for Biological Diversity v. U.S. Bureau of Land Mgmt.,
   698 F.3d 1101 (9th Cir. 2012) ............................................................................ 32

Ctr. for Biological Diversity v. U.S. Fish & Wildlife Serv.,
   33 F.4th 1202 (9th Cir. 2022) ............................................................................. 25
Ctr. for Biological Diversity v. Zinke,
   900 F.3d 1053 (9th Cir. 2018) ..........................................................21, 22, 23, 24

Dep’t of Homeland Sec. v. Regents of Univ. of Cal.,
  140 S.Ct. 1891 (2020) ...................................................................................17, 31
Flint v. United States,
   906 F.2d 471 (9th Cir. 1990) .............................................................................. 35

Friends of the Earth, Inc. v. Laidlaw Envt’l Servs.,
   528 U.S. 167 (2000) .............................................................................................. 3
In re Consolidated Delta Smelt Cases,
    717 F.Supp.2d 1021 (E.D. Cal. 2010) ................................................................ 20



                                                          iv
          Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 7 of 78




In re Consolidated Delta Smelt Cases,
    812 F.Supp.2d 1133 (E.D. Cal. 2011), appeal dismissed
    as moot, judgment vacated (9th Cir. 11-17143) ................................................. 20

Karuk Tribe of Cal. v. U.S. Forest Serv.,
  681 F.3d 1006 (9th Cir. 2012) ........................................................................ 8, 50
Kern Cnty. Farm Bureau v. Allen,
  450 F.3d 1072 (9th Cir. 2006) ............................................................................ 21
Nat. Res. Def. Council v. Houston,
  146 F.3d 1118 (9th Cir. 1998) ................................................................29, 31, 51

Nat. Res. Def. Council v. Jewell,
  749 F.3d 776 (9th Cir. 2014) .......................................................................passim
Nat. Res. Def. Council v. Kempthorne,
  506 F.Supp.2d 322 (E.D. Cal. 2007) .................................................................... 9

Nat’l Audubon Soc’y, Inc. v. Davis,
  307 F.3d 835 (9th Cir. 2002) ........................................................................41, 53

Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv.,
  422 F.3d 782 (9th Cir. 2005) .............................................................................. 34

Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv.,
  524 F.3d 917 (9th Cir. 2008) ........................................................................25, 31

Nordstrom v. Ryan,
  856 F.3d 1265 (9th Cir. 2017) ............................................................................ 35

O’Neill v. United States,
  50 F.3d 677 (9th Cir. 1995) ....................................................................42, 49, 50

Pac. Coast Fed’n of Fishermen’s Ass’ns v. Dep’t of the Interior,
  655 F.App’x 595 (9th Cir. 2016) ........................................................................ 39

Pac. Coast Fed’n of Fishermen’s Ass’ns v. Bureau of Reclamation,
  426 F.3d 1082 (9th Cir. 2005) ............................................................................ 27

Pac. Coast Fed’n of Fishermen’s Ass’ns v. Gutierrez,
  606 F.Supp.2d 1122 (E.D. Cal. 2008) ................................................................ 10


                                                       v
           Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 8 of 78




Pakootas v. Teck Cominco Metals, LTD,
  830 F.3d 975 (9th Cir. 2016) .............................................................................. 35
Puri v. Khalsa,
  844 F.3d 1152 (9th Cir. 2017) ............................................................................ 14

Pyramid Lake Paiute Tribe of Indians v. U.S. Dep’t of Navy,
   898 F.2d 1410 (9th Cir. 1990) ............................................................................ 32

San Luis & Delta-Mendota Water Auth v. Jewell,
   747 F.3d 581 (9th Cir. 2014) ........................................................................37, 38

San Luis & Delta-Mendota Water Auth. v. Locke,
   776 F.3d 971 (9th Cir. 2014) .......................................................................passim

Sierra Club v. Babbitt,
   65 F.3d 1502 (9th Cir. 1995) .............................................................................. 42
Turtle Island Restoration Network v. Nat’l Marine Fisheries Serv.,
   340 F.3d 969 (9th Cir. 2003) .............................................................................. 42
U.S. Fish & Wildlife Serv. v. Sierra Club, Inc.,
   141 S.Ct. 777 (2021) ............................................................................................. 9
United States v. Alpine Land & Reservoir Co.,
  697 F.2d 851 (9th Cir. 1983) .............................................................................. 53
United States v. Ritchie,
  342 F.3d 903 (9th Cir. 2003) .............................................................................. 45
United States v. State Water Res. Control Bd.,
  694 F.2d 1171 (9th Cir. 1982) ............................................................................ 41

W. Watersheds Project v. Kraayenbrink,
   632 F.3d 472 (9th Cir. 2011) ........................................................................17, 19
Westlands Water Dist. v. United States,
  337 F.3d 1092 (9th Cir. 2003) ............................................................................ 49

Wild Fish Conservancy v. Salazar,
   628 F.3d 513 (9th Cir. 2010) .......................................................................passim



                                                          vi
            Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 9 of 78




State Cases

Envt’l Def. Fund v. E. Bay Mun. Util. Dist.,
  26 Cal.3d 183 (Cal. 1980) .............................................................................39, 53

Santa Barbara Channelkeeper v. City of San Buenaventura,
   19 Cal.App.5th 1176 (2018) .........................................................................53, 54
Stanford Vina Ranch Irrigation Co. v. California,
   50 Cal.App.5th 976 (2020), as modified (July 8, 2020) ..................................... 53

State Water Res. Control Bd. Cases,
   136 Cal.App.4th 674 (2006) ............................................................................... 53

Statutes

5 U.S.C.
   §702....................................................................................................................... 2
   §703....................................................................................................................... 2
   §704....................................................................................................................... 2
   §705....................................................................................................................... 2
   §706....................................................................................................................... 2
   §706(2)(A) .......................................................................................................... 16
16 U.S.C.
   §1533(b)(1)(A).................................................................................................... 22
   §1536(a)(2) ...........................................................................................1, 8, 21, 32
   §1536(d) .............................................................................................................. 51
   §1540(c) ................................................................................................................ 2
28 U.S.C.
   §1291..................................................................................................................... 2
   §1331..................................................................................................................... 2
43 U.S.C.
   §372..................................................................................................................... 53
   §383..................................................................................................................... 53
   §390hh(a) ............................................................................................................ 35
   §485h(e) .............................................................................................................. 35

Central Valley Project Improvement Act, Pub. L. No. 102-575 (1992)
  §3404(c)(2) ......................................................................................................... 52
  §3406(b) ..................................................................................................37, 52, 53

                                                             vii
          Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 10 of 78




Regulations

50 C.F.R.
   §402.02 (as in effect Oct. 27, 2019) .........................................................9, 20, 42
   §402.13(b) (as in effect Oct. 27, 2019) ............................................................... 34
   §402.14(a) (as in effect Oct. 27, 2019) ........................................................... 8, 31
   §402.14(b) (as in effect Oct. 27, 2019)........................................................... 9, 31
   §402.14(e) (as in effect Oct. 27, 2019) ................................................................. 9
   §402.14(g) (as in effect Oct. 27, 2019) ............................................................... 34
   §402.14(h) (as in effect Oct. 27, 2019) ............................................................... 34
   §402.14(j) (as in effect Oct. 27, 2019)................................................................ 34
   §402.16 (as in effect Oct. 27, 2019) .............................................................42, 52
Constitutional Provisions
Cal. Const. art. X, §2 ..........................................................................................39, 53

Rules
Fed. R. App. P. 4(a)(1)(B) ......................................................................................... 2

Fed. R. Civ. P. 54(b) ............................................................................................ 2, 13

Agency Materials

75 Fed. Reg. 17,667 (Apr. 7, 2010) ........................................................................... 6




                                                         viii
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 11 of 78




                                INTRODUCTION
      This appeal is the result of the U.S. Bureau of Reclamation’s

(“Reclamation”) refusal to abide by this Court’s 2014 unanimous en banc ruling
that Reclamation is required under the Endangered Species Act (“ESA”) to consult
with expert wildlife agencies regarding the effects of dozens of long-term water

delivery contracts that are wreaking devastation on native California fish species
and habitat. See Nat. Res. Def. Council v. Jewell, 749 F.3d 776 (9th Cir. 2014) (en
banc). These 25-year and 40-year contracts obligate Reclamation to provide

millions of acre-feet of water every year—approximately four times the amount
used by the entire city of Los Angeles—to two sets of contractors: the Sacramento
River Settlement (“SRS”) Contractors, who divert water from the Sacramento

River, and the Delta-Mendota Canal (“DMC”) Contractors, who divert water
pumped out of the Sacramento-San Joaquin River Delta (“Delta”). Although
native Delta Smelt and Chinook salmon runs thrived for centuries in the Delta,
those species are now at high risk of extinction. Yet for almost 20 years federal
agencies have refused to examine the impacts of the long-term water contracts on
the species.

      Eight years ago, this Court squarely held that Reclamation must perform a
consultation under Section 7 of the ESA, 16 U.S.C. §1536(a)(2), to ensure that the
SRS and DMC Contracts are compatible with sustaining protected fish
populations, and that Reclamation had discretion in negotiating the renewal of
those contracts to act to benefit protected species. Jewell, 749 F.3d at 779. But on
remand, Reclamation initiated a “consultation” in which it blatantly defied this
                                         1
          Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 12 of 78




Court’s rulings and denied that it had any such discretion. Instead, Reclamation
engaged in a perfunctory sham consultation with the U.S. Fish and Wildlife

Service (“FWS”) that failed to actually assess the contracts’ effects on threatened
Delta Smelt. The district court’s decision upholding that consultation violates
basic principles of administrative review and misapplies ESA law, and should be

reversed.
      Reclamation also wrongly disavowed its discretion to act to benefit ESA-
listed Chinook salmon during the duration of the renewed SRS Contracts. On that

basis, it refused to reinitiate consultation with the National Marine Fisheries
Service (“NMFS”) regarding the SRS Contracts’ devastating effects on the species,
including releases and diversions pursuant to the SRS Contracts that contributed to

two years of near complete mortality of protected Chinook salmon. The district
court erred in dismissing Plaintiffs’ claim for reinitiation of consultation.
                         JURISDICTIONAL STATEMENT
      The district court had jurisdiction under 28 U.S.C. §1331, 16 U.S.C.
§1540(c), and 5 U.S.C. §§702-706, and entered final judgment on the three claims
in this appeal under Federal Rule of Civil Procedure 54(b) on December 29, 2020.

1-ER-0003. Plaintiffs (collectively, Natural Resources Defense Council or
“NRDC”)1 timely filed a notice of appeal on January 26, 2021. 26-ER-6050; Fed.
R. App. P. 4(a)(1)(B). This Court has jurisdiction under 28 U.S.C. §1291.

      1
        Plaintiffs also include San Francisco Baykeeper, Friends of the River, The
Bay Institute, Pacific Coast Federation of Fishermen’s Associations/Institute for
Fisheries Resources (“PCFFA”), and the Winnemem Wintu Tribe, except that

                                           2
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 13 of 78




                              ISSUES PRESENTED
1.    Whether FWS’s 2015 ESA consultation on the effects of renewing the SRS

      and DMC Contracts on Delta Smelt was arbitrary and capricious and
      contrary to law. 1-ER-0007.
2.    Whether Reclamation violated its procedural and substantive ESA

      obligations by failing to engage in a valid consultation on the effects of
      renewing the SRS and DMC Contracts on Delta Smelt, including by
      misrepresenting to FWS the action subject to the 2015 consultation. 1-ER-

      0007.
3.    Whether NRDC adequately alleged that Reclamation has sufficient
      discretion to act to benefit spring-run and winter-run Chinook salmon during

      the terms of the SRS Contracts to reinitiate of consultation on those
      contracts. 1-ER-0074.
                         STATEMENT OF THE CASE
      A. The Central Valley Project and SRS and DMC Contracts
      Reclamation is responsible for operating the Central Valley Project

(“CVP”), a vast network of dams, reservoirs and pumping facilities that regulates
the flows of California’s major river systems and delivers water to users across the


Friends of the River is not a party to the Chinook salmon reinitiation claim, and
PCFFA and the Tribe only assert that claim. Plaintiffs-Appellants have standing to
bring their claims because their members’ interests are injured by the agencies’
violations; the interests are germane to Plaintiffs-Appellants’ organizational
purposes; the injuries are redressable; and the suit does not require members’
individual participation. See Friends of the Earth, Inc. v. Laidlaw Envt’l Servs.,
528 U.S. 167, 180-83 (2000); 23-ER-5187-243.
                                          3
          Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 14 of 78




state.2 5-ER-1037, 5-ER-1049, 5-ER-1056, 5-ER-1059; 24-ER-5521-22.
Reclamation’s CVP operations affect the amount, timing, and temperature of the

water that flows through the Sacramento River and into the Delta, before flowing
to the Pacific Ocean through San Francisco Bay. 6-ER-1156; 24-ER-5521-22, 24-
ER-5527; see generally San Luis & Delta-Mendota Water Auth. v. Locke, 776 F.3d

971, 982-85 (9th Cir. 2014). As part of its operations, Reclamation enters into
contracts to provide water from the CVP to other parties. 5-ER-1043.
      In 2005, Reclamation executed new contracts with the SRS and DMC

Contractors. 3-ER-0538; 24-ER-5524-25. The renewed DMC Contracts run
through 2030, and collectively require Reclamation to pump and deliver
approximately 350,000 acre-feet of water from the Delta each year to south-of-

Delta contractors.3 2-ER-0282-83, 2-ER-0338-39; 3-ER-0538. The renewed SRS
Contracts run through 2045 and collectively authorize diversion of approximately
2.1 million acre-feet of water each year from the Sacramento River before it
reaches the Delta.4 3-ER-0365, 3-ER-0503-04; 24-ER-5552-53. The SRS


      2
         The State Water Project (“SWP”) is a similar water management project
operated by California in conjunction with the CVP.
       3
         The 13 DMC Contractor parties to this litigation receive 90% of the total
water deliveries provided for in the DMC contracts. 22-ER-5042, 22-ER-5053-54;
2-ER-0338-39. The DMC Contracts are identical in all material respects, except
for water quantities. 8-ER-1652 to 11-ER-2375. NRDC cites to Tranquility
Irrigation District’s contract as an example. 8-ER-1552.
       4
         The 28 SRS Contractor parties to this litigation are the largest diverters
pursuant to the SRS Contracts; their diversions constitute 95% of the total SRS
Contracts’ amount. 22-ER-5042, 22-ER-5053-54; 3-ER-0502-04. The SRS
Contracts are identical in all material respects, except for water quantities. See 8-

                                           4
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 15 of 78




Contracts require Reclamation to release water from upstream reservoirs into the
Sacramento River to satisfy the monthly diversion amounts provided in each

contract. 5-ER-0905, 5-ER-0909-12; see, e.g., 15-ER-3124-25, 15-ER-3153.
      The SRS Contracts are considered “settlement” contracts because when
Reclamation sought a state permit to construct reservoirs on and appropriate water

from the Sacramento River, a dispute arose regarding the priority and quantity of
existing rights to Sacramento River water. 3-ER-0373. The original SRS
Contracts, executed in the 1960s, were a temporary compromise that avoided the

need for a state-law water rights adjudication and allowed Reclamation to obtain a
permit by agreeing to provide water to parties who claimed preexisting (yet
unadjudicated and unquantified) water rights. 3-ER-0373; 15-ER-3119.

      The SRS Contracts define two categories of diversions: “Base” supply is the
parties’ negotiated proxy for the disputed water rights, which Reclamation
provides at no cost to the SRS Contractors; “project” water is additional water
delivered from the CVP, for which the SRS Contractors pay rates similar to other
CVP contractors. 3-ER-0373-74. In negotiating the 2005 renewals, Reclamation
reduced the amounts of base or project water available to several contractors,

increased the price of project water, and inserted new provisions that limit
Reclamation’s liability for shortages of project water. See Section II.B, infra.
//
//


ER-1508, 8-ER-1614; 11-ER-2376 to 16-ER-3547. NRDC cites to Glenn-Colusa
Irrigation District’s contract as an example. 15-ER-3116.
                                          5
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 16 of 78




      B. ESA-Listed Fish Affected by the Contracts
      This case involves three protected fish species and their critical habitat: the

Delta Smelt, and winter-run and spring-run Chinook salmon. The Delta Smelt is a
small fish with a one-year lifespan that lives only in the Delta. 5-ER-0978. One of
the most abundant species in the Delta as recently as the 1970s, the Delta Smelt is

now listed as threatened under the ESA, and FWS has found that its declining
condition warrants endangered status but is precluded from listing by other
pending regulatory actions. See 75 Fed. Reg. 17,667 (Apr. 7, 2010). The Delta

Smelt population has declined drastically to recent all-time lows. 6-ER-1162-63;
3-ER-0585-586. The entire Delta is designated as the species’ critical habitat. 5-
ER-0977.

      Sufficient river flows through the Delta are vital to ensuring suitable habitat
for Delta Smelt. 5-ER-0963-66, 5-ER-0977-88; 7-ER-1380, 7-ER-1407-08, 7-ER-
1419-20. Delta Smelt live in the low-salinity zone at the saltwater-freshwater
interface in the Delta. 3-ER-0579-80; 5-ER-0932-34; 6-ER-1190-99. When
freshwater flows are low, that zone retreats inland, exposing Delta Smelt to
unfavorable spawning and rearing conditions, more predators, temperature stress,

and entrainment in the nearby Delta export pumps, which kill the fish that are
sucked into them. 3-ER-0584, 3-ER-0597-98; 5-ER-0976-90; 6-ER-1190-99; 7-
ER-1383, 7-ER-1408-10, 7-ER-1462, 7-ER-1421. Numerous analyses by FWS
and other agencies have confirmed that diversions of water from the rivers that
feed the Delta (such as the SRS Contractors’ Sacramento River diversions) and
pumping water out of the Delta (such as exports to the DMC Contractors) reduce
                                          6
          Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 17 of 78




the fresh water flowing through the Delta, and thus contribute to the decline of the
Delta Smelt’s habitat and population. 3-ER-0592-93; 5-ER-0963-66, 5-ER-0982-

89, 5-ER-0999-1004; 7-ER-1408-10, 7-ER-1423-24.
      Winter-run and spring-run Chinook salmon are anadromous fish that hatch
in the upper Sacramento River, migrate to the Pacific Ocean as juveniles, and then

generally return to the Sacramento River as adults three years later to spawn. 24-
ER-5545-46.5 Winter-run Chinook are listed as endangered and spring-run
Chinook are listed as threatened. 24-ER-5544-46. The winter-run Chinook

population has declined precipitously since the early 1980s, and only remnant
natural spring-run Chinook populations survive. 24-ER-5544-45. Both species’
critical habitat includes the Sacramento River and its watershed. 24-ER-5544-46.

      Cold river temperatures are necessary for successful Chinook salmon egg
incubation and juvenile rearing. 24-ER-5544-46. Since Reclamation’s
construction of Shasta Dam, water temperature in the species’ spawning and
rearing habitat in the Sacramento River depends largely on the temperature of the
water released upstream from Shasta Reservoir. 24-ER-5546. Reclamation must
therefore retain cold-water reserves in the reservoir throughout the spring and

summer to ensure that sufficiently cold water can be released in the fall when
winter-run and spring-run Chinook need it. Id. Excessive releases from the
reservoir earlier in the year (including those to meet downstream diversions of the


      5
       Because the claim regarding Chinook salmon was dismissed on the
pleadings, citations for that claim are to the then-operative complaint, rather than
an administrative record.
                                           7
          Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 18 of 78




SRS Contractors) reduce the cold water available in the fall and result in
temperature-dependent mortality of Chinook salmon eggs and juveniles. 24-ER-

5547-48.
      C. Reclamation’s History of Consultation on the Contracts
      The ESA “requires federal agencies to ensure that none of their activities

jeopardizes the continued existence of endangered or threatened species or
adversely modifies those species’ critical habitats,” and that “federal agencies must
consult with [FWS] ... or [NMFS] ... prior to taking any action that could affect an

endangered or threatened species or its critical habitat.” Jewell, 749 F.3d at 779;
see 16 U.S.C. §1536(a)(2); 50 C.F.R. §402.14(a) (as in effect Oct. 27, 2019).6
“NMFS consults on marine and anadromous species” like Chinook salmon; FWS

consults on the remainder of species, including Delta Smelt. Locke, 776 F.3d at
987 n.7. As the en banc Court held in this case regarding Reclamation’s obligation
to consult on the contracts: “consultation is required so long as the federal agency
has some discretion to take action for the benefit of a protected species.” Jewell,
749 F.3d at 779 (quotation omitted).
      Upon consultation, if FWS or NMFS determines that “the proposed action is

‘not likely to adversely affect any listed species or critical habitat,’ … the process
ends.” Karuk Tribe of Cal. v. U.S. Forest Serv., 681 F.3d 1006, 1027 (9th Cir.


      6
        Applicable statutory provisions are set forth in the Addendum. Certain
ESA consultation regulations were amended in 2019, but those amendments were
vacated. See Ctr. for Biological Diversity v. Raimondo, No. 19-cv-05206-JST,
Dkt. 168 (N.D. Cal. July 5, 2022). This brief cites to the prior (now operative)
version of those regulations.
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          Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 19 of 78




2012) (en banc) (quoting 50 C.F.R. §402.14(b)(1)). If a proposed action is likely
to adversely affect listed species or habitat, then FWS or NMFS must prepare a

biological opinion that sets forth its “expert opinion [on] … whether the action is
likely to jeopardize a listed species or adversely modify its critical habitat and, if
so, … identif[ies] reasonable and prudent alternatives that will avoid the action’s

unfavorable impacts,” which the action agency must implement. Jewell, 749 F.3d
at 779 (quotation omitted); see U.S. Fish & Wildlife Serv. v. Sierra Club, Inc., 141
S.Ct. 777, 784 (2021); 50 C.F.R. §§402.02, 402.14(e) (as in effect Oct. 27, 2019).

      In the process of renewing the SRS and DMC Contracts in 2005,
Reclamation asked FWS and NMFS to concur that the renewals would not
adversely affect listed species. 2-ER-0198; 3-ER-0364; 24-ER-5525-27. FWS and

NMFS issued letters of concurrence stating that the renewals were not likely to
adversely affect Delta Smelt or Chinook salmon, but did not consider any specific
terms of the contracts, instead basing their conclusions solely on the no-jeopardy
findings and analyses contained in the agencies’ biological opinions on the effects
of the coordinated statewide operations of the CVP and SWP (“2005 FWS BiOp”
and “2004 NMFS BiOp”). Jewell, 749 F.3d at 781; 3-ER-0494-531; 3-ER-0525-

27;7 2-ER-0342-43; 24-ER-5527, 24-ER-5572.
      Those biological opinions were invalidated by the district court, but
Reclamation did not revisit or update its consultation on the contract renewals.
Jewell, 749 F.3d at 781-82; 3-ER-0537; 24-ER-5527, 24-ER-5559-60; see Nat.

      7
        FWS’s three concurrence letters cover different sets of SRS Contracts but
have identical reasoning. 3-ER-0537, 3-ER-0494; 4-ER-0767, 4-ER-0804.
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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 20 of 78




Res. Def. Council v. Kempthorne, 506 F.Supp.2d 322 (E.D. Cal. 2007); Pac. Coast
Fed’n of Fishermen’s Ass’ns v. Gutierrez, 606 F.Supp.2d 1122 (E.D. Cal. 2008).

Reclamation’s reliance on the invalidated biological opinions led to NRDC’s claim
in this case that no valid ESA consultation on Delta Smelt had occurred prior to
Reclamation’s renewal of the SRS and DMC Contracts and that Reclamation was

jeopardizing the species’ existence in violation of the ESA. 24-ER-5524-25, 24-
ER-5577-78.
      It was this claim that was the subject of Jewell, in which Reclamation argued

that it did not need to engage in a consultation on the renewal of the contracts.
Jewell, 749 F.3d at 781. This Court unambiguously held that Reclamation “was ...
required to engage in [ESA] consultation prior to renewing the” SRS and DMC

contracts, and that Reclamation had “never” properly consulted on the contract
renewals’ effects on Delta Smelt. Id. at 782, 784-85.
      Specifically, the Court held that Reclamation “was required to engage in ...
consultation because, in renewing the challenged contracts, it retained ‘some
discretion’ to act in a manner that would benefit the delta smelt.” Id. at 779
(citation omitted). Although it did not decide the full scope of Reclamation’s

discretion, the Court specifically identified “revising the contracts’ pricing scheme
or changing the timing of water deliveries” as examples of how Reclamation
“could have contracted to benefit the Delta Smelt.” Id. at 783-85.
      This Court in Jewell held that Reclamation’s 2005 purported consultation on
the contract renewals was invalid because it had been based exclusively on the
invalidated 2005 FWS BiOp on CVP/SWP operations. Id. at 781-82. The Court
                                          10
          Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 21 of 78




also specifically ruled that FWS’s 2008 replacement biological opinion on system-
wide CVP/SWP operations (“2008 FWS BiOp”), an opinion which found

operations would jeopardize Delta Smelt, “does not represent a consultation with
the FWS concerning the impact of [Reclamation]’s decision to renew the specific
contracts before us.” Jewell, 749 F.3d at 782; 5-ER-1005.

      D. Challenged Agency Actions and Procedural History
      On remand, despite the ruling in Jewell that the 2008 FWS BiOp did not
constitute a consultation regarding the impacts of the decision to renew the

contracts, Reclamation specifically limited its consultation to a request that FWS
concur that “the potential effects of the [renewals] on the Delta Smelt and its
designated critical habitat [were] adequately covered in the analysis of the 2008

[FWS BiOp].” 3-ER-0532-34, 3-ER-0625-27; 2-ER-0186. Further, despite
Jewell’s key holding that Reclamation possesses sufficient discretion to protect
listed species during the SRS Contract renewals, Reclamation disavowed this
discretion when it requested consultation, asserting that it could not negotiate
changes in the SRS Contracts’ timing or pricing of water deliveries—in direct
contravention of this Court’s conclusion to the contrary—and denying any

discretion to negotiate the quantities of water diversions identified in the SRS
Contracts.8 3-ER-0546-48; 4-ER-0743-44.

      8
        As explained infra in Section II.B, Reclamation’s assertion is also
counterfactual: Reclamation did negotiate changes. It simply did not consult
regarding the effect of those changes or of other potential changes it had discretion
to negotiate. With respect to the DMC Contracts, Reclamation concedes it has
discretion at contract renewal “to require contract terms to avoid jeopardizing the
continued existence of the delta smelt.” 3-ER-0549.
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          Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 22 of 78




      In December 2015, FWS issued a cursory concurrence letter agreeing that
renewed contracts were not likely to adversely affect Delta Smelt and relying

exclusively on the 2008 FWS BiOp. 4-ER-0746-49. The letter maintained the
prior 2005 concurrence, with references to the 2005 FWS BiOp in that concurrence
simply updated to reference 2008 instead. 4-ER-0749. The 2015 concurrence

letter did not address any scientific data or information, let alone critical new
information available since 2008. 4-ER-0746-49; Section I.B, infra. Nor did it
address the effects of the contract terms on the Delta Smelt and its habitat; whether

renewing the contracts was compatible with the reasonable and prudent
alternatives that the FWS 2008 BiOp found were necessary to avoid jeopardy; or
information showing that baseline requirements in the 2008 FWS BiOp were not

being met. See Sections I.A, I.C, infra. And it failed adequately to account for the
fact that the 2008 FWS BiOp only considered the effects of CVP/SWP operations
through 2030—15 years short of the full term of the SRS Contracts (as renewed
prior to any valid consultation). See Section I.D, infra.
      In light of Reclamation’s continued refusal to engage in valid consultation
on the contract renewals, upon remand from the Jewell decision, NRDC sought

summary judgment on its claim against Reclamation—namely, that there still had
not been a valid consultation on the renewals and that Reclamation was
jeopardizing the Delta Smelt.9 See 1-ER-0007-08. NRDC also added and sought


      9
       Following a ruling by the district court, NRDC provided Reclamation an
updated 60-day notice of this claim. 1-ER-0155; 22-ER-5038-39; 22-ER-5047;
23-ER-5141.
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          Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 23 of 78




summary judgment on an Administrative Procedure Act (“APA”), 5 U.S.C. §701 et
seq., claim against FWS that challenged the consultation as arbitrary and

capricious and contrary to law. 1-ER-0007-08; 22-ER-5042-44, 22-ER-5098-99.
Finally, NRDC added a claim alleging that Reclamation had a duty to reinitiate
consultation on the SRS Contracts with respect to winter-run and spring-run

Chinook salmon due to significant new information about the SRS Contracts’
effects on those species. 24-ER-5526-27, 24-ER-5581-82.
      The district court resolved these three claims by granting summary judgment

to Defendants on (1) NRDC’s claim against FWS for its arbitrary, capricious, and
unlawful 2015 Delta Smelt consultation and (2) NRDC’s claim against
Reclamation for failing to consult validly on the contract renewals regarding Delta

Smelt and for jeopardizing Delta Smelt, 1-ER-0072-73; and (3) granting Federal
Defendants’ motion to dismiss NRDC’s claim that Reclamation had a duty to
reinitiate consultation on the SRS Contracts’ effects on Chinook salmon, finding
that “Plaintiffs have failed to plausibly allege that Reclamation retains
discretionary Federal involvement or control sufficient to trigger re-consultation,”
1-ER-0115 (quotation omitted). The district court granted NRDC’s motion for

Rule 54(b) judgment on the three consultation claims at issue in this appeal. 1-ER-
0003.10
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         Still pending in the district court is an ESA claim for the unlawful killing
(“take”) of Chinook salmon, which is stayed. See 22-ER-4965.
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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 24 of 78




      E. 2019 CVP/SWP Biological Opinions
      In 2019, FWS and NMFS issued new “no-jeopardy” biological opinions on

statewide coordinated CVP/SWP operations; however, in the ensuing litigation
challenging those opinions, the agencies requested and were granted voluntary
remand to perform new consultations on statewide operations. See NRDC Request

for Judicial Notice (“RJN”) Ex. 1 at 2, 14, 23. The 2019 biological opinions are
currently in effect and will remain in place during the reconsultation, which the
agencies estimate will extend through late 2024. Id. Ex. 2 at 1. Those opinions do

not analyze the effects of the renewal or execution of the SRS or DMC Contracts.
Id. Ex. 3 at 4-9, 4-10.
      In litigation challenging the 2019 biological opinions, the district court

recognized that FWS “has expressed concern that the SRS Contracts in particular
may not allow Reclamation to make operational adjustments necessary to protect
smelt,” and “[t]he record developed … in these cases strongly suggests that NMFS
will face a similar conundrum” regarding Chinook salmon. Id. Ex. 1 at 92-93. The
district court warned that “the senior contracts are the 800-pound gorilla in the
room,” and the federal agencies “will eventually be forced to confront, or at the

very least fully appraise, the 800-pound gorilla” in a consultation. Id. The time for
that long-delayed reckoning is now.
                            STANDARD OF REVIEW
      This Court reviews cross-motions for summary judgment de novo, and may
direct that summary judgment be granted to either party based on its de novo
review of the record. Locke, 776 F.3d at 991. This Court also reviews a dismissal
                                         14
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 25 of 78




for failure to state a claim de novo, but must “accept as true all well-pleaded
allegations of material fact and construe them in the light most favorable to the

plaintiffs.” Puri v. Khalsa, 844 F.3d 1152, 1157 (9th Cir. 2017).
                       SUMMARY OF THE ARGUMENT
      This case is back before this Court for a second time due to the federal

agencies’ willful refusal to perform the ESA consultations on the SRS and DMC
Contracts that are statutorily required of them—and despite this Court’s en banc
ruling that Reclamation was required to consult on the contracts’ renewals and

possessed sufficient discretion to do so.
      FWS and Reclamation’s superficial 2015 Delta Smelt “consultation”
regarding the renewals of the SRS and DMC Contracts was arbitrary and

capricious and contrary to law. By relying solely on the jeopardy 2008 FWS BiOp
for its concurrence with Reclamation’s request that it find that the contracts’
renewal would not jeopardize Delta Smelt or its habitat, FWS failed to consider
crucial aspects of the problem, including how commitments to remove vast
amounts of water from the natural system would affect Delta Smelt, and ignored
seven years of highly relevant scientific data regarding the species’ declining

population and habitat needs, 15 years of the SRS Contracts’ term, and
Reclamation’s repeated failures to provide the Delta flows required by the 2008
FWS BiOp.
      Reclamation independently violated its ESA obligations—first, by accepting
the obviously flawed 2015 concurrence from FWS. And second, by
misrepresenting the scope of Reclamation’s discretion to negotiate terms when
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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 26 of 78




renewing the SRS Contracts (in direct contravention of Jewell’s holding), thereby
preventing FWS from adequately assessing the effects of the contracts and any

alternatives necessary to protect Delta Smelt.
      Reclamation also violated the ESA by refusing to reinitiate consultation
regarding the effects of the SRS Contracts on Chinook salmon and its critical

habitat, despite significant new information regarding those effects that was not
previously considered. Reclamation was obligated to reinitiate consultation
because it possesses discretion to take action that would benefit Chinook salmon

under the terms of the SRS Contracts and pursuant to federal and state law.
                                    ARGUMENT

I. The 2015 Consultation On The Effects Of The Renewed Contracts On
   Delta Smelt Was Arbitrary, Capricious And Contrary To Law
      Federal Defendants flouted their obligation to consult under the ESA
regarding the effects of renewing the long-term contracts on Delta Smelt, despite
this Court’s decision finding that no valid consultation had taken place, that the
system-wide 2008 FWS BiOp did not constitute a consultation on the renewals,
and that Reclamation retained sufficient discretion to require a consultation be
conducted. Instead, on remand, Federal Defendants made a mockery of the

consultation process.
      ESA consultations are reviewed under the APA, which deems an agency
action invalid if it is “arbitrary, capricious, an abuse of discretion, or otherwise not
in accordance with law.” Locke, 776 F.3d at 994; 5 U.S.C. §706(2)(A)). An
agency action is arbitrary and capricious if the agency has “relied on factors which

                                           16
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 27 of 78




Congress has not intended it to consider, entirely failed to consider an important
aspect of the problem, offered an explanation for its decision that runs counter to

the evidence before the agency, or is so implausible that it could not be ascribed to
a difference in view or the product of agency expertise.”11 Locke, 776 F.3d at 994
(quotation omitted).

      A reviewing court must “engage in a careful, searching review to ensure that
the agency has made a rational analysis and decision on the record before it.” Wild
Fish Conservancy v. Salazar, 628 F.3d 513, 521 (9th Cir. 2010) (quotation

omitted). The agency is “obligated to articulate a rational connection between the
facts found and the conclusions made.” Id. at 529 (quotation omitted). “It is a
foundational principle of administrative law that judicial review of agency action is

limited to the grounds that the agency invoked when it took the action.” Dep’t of
Homeland Sec. v. Regents of Univ. of Cal., 140 S.Ct. 1891, 1907 (2020).
      A. By Relying Exclusively on the 2008 FWS BiOp, FWS Failed to
         Consider Important Aspects of the Problem
      FWS acted arbitrarily and contrary to its obligations under the ESA by
wholly failing to consider the effects of the contract renewals on Delta Smelt and
its critical habitat. FWS did not in any way analyze or discuss how the terms of
the contracts and their renewals would affect the species. 4-ER-0746-49. Instead,

      11
        NRDC’s APA claim against FWS is based on FWS’s administrative
record. See Locke, 776 F.3d at 993. The district court properly held that NRDC’s
ESA citizen-suit claim against Reclamation is not limited to an administrative
record. 23-ER-5341; see W. Watersheds Project v. Kraayenbrink, 632 F.3d 472,
497 (9th Cir. 2011). For that claim, NRDC cites to documents in the
administrative record Reclamation purported to lodge and to limited additional
documents provided to the district court.
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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 28 of 78




FWS’s “consultation” relied solely on the 2008 FWS BiOp, which only addressed
systemwide operations for all CVP/SWP facilities, to conclude that the SRS and

DMC Contracts do not adversely affect Delta Smelt. Id.; see 5-ER-0862, 5-ER-
0879-80, 5-ER-0900-25, 5-ER-1037-39, 5-ER-1049-50, 5-ER-1056-58. This
Court, however, has already rejected the notion that the 2008 FWS BiOp is a

legally sufficient consultation on the SRS and DMC Contracts’ effects on Delta
Smelt: “The 2008 [Biological] Opinion merely assesses the general effects of …
[Reclamation]’s Plan, and it does not represent a consultation with the FWS

concerning the impact of [Reclamation]’s decision to renew the specific
contracts[.]” Jewell, 749 F.3d at 782 (emphasis added).
      Even if this Court had not already addressed the question of whether the

2008 FWS BiOp was an adequate substitute for consultation on the contracts,
FWS’s concurrence is arbitrary because the agency “entirely failed to consider an
important aspect of the problem,” Locke, 776 F.3d at 994: namely, whether and
how the obligations in the contracts for Reclamation to supply huge amounts of
water for diversion upstream of the Delta, and to export huge amounts of water
from the Delta, impact the Delta freshwater flows that are crucial to Delta Smelt

and its habitat. Nor did FWS analyze the important aspects of how the contracts’
other terms—including shortage provisions (which can reduce contract water
quantities during specified circumstances, including for drought or other needs),
the timing of diversions (the contracts provide for monthly water amounts to be
supplied pursuant to schedules dictated by the contractors), pricing (which can
affect usage and encourage conservation, leaving more water for ecological
                                        18
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 29 of 78




purposes),12 and water conservation requirements—impact Delta outflow. See,
e.g., 15-ER-3128, 15-ER-3130, 15-ER-3148, 15-ER-3153. FWS failed to do this

analysis despite its consistent acknowledgment that Delta outflow is a crucial
factor affecting Delta Smelt habitat and entrainment and thus is a critical
component to the species’ recovery and survival. 3-ER-0584-85, 3-ER-0588-99;

5-ER-0963-66, 5-ER-0976-90, 5-ER-0999-1004. Given this Court’s ruling that
Reclamation could negotiate terms such as price and timing to benefit the Delta
Smelt, Jewell, 749 F.3d at 784-85, it was arbitrary for FWS to accept

Reclamation’s claim to the contrary. See Section II.B, infra.
      The district court’s conclusion that FWS acted reasonably by relying on the
2008 FWS BiOp merely because the operations analyzed in that opinion assumed

implementation of the renewed SRS and DMC Contracts’ terms, is flawed. See 1-
ER-0034. The 2008 FWS BiOp assumed certain levels of deliveries and exports
for all CVP and SWP contracts, looked at the effect of operating the CVP/SWP to
meet that aggregate demand, but then critically found that the overall proposed
CVP/SWP operations that included deliveries pursuant to the SRS and DMC
Contracts would violate the ESA because they would jeopardize the existence of



      12
        See 3-ER-0508-09 (FWS noting higher prices may decrease water
diversions under renewed contracts); 17-ER-3569 (“Pricing is the driving force to
achieve water conservation.”); id. (Reclamation stating renewed contracts’
increased project water prices “provide significant incentives for water
conservation”); 17-ER-3616 (an “overall decrease in SRSC diversion[s] … would
provide Reclamation with additional flexibility in meeting other … environmental
water needs”).
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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 30 of 78




Delta Smelt and adversely affect critical habitat.13 5-ER-0862-78, 5-ER-0909, 5-
ER-0925, 5-ER-1005-19.

      Although FWS in 2008 identified significant alterations to proposed
CVP/SWP operations in the reasonable and prudent alternatives (“RPA”) that it
deemed “necessary to ensure that implementation of the long term operations of

the CVP/SWP does not appreciably reduce the likelihood of both the survival and
recovery of the Delta Smelt,” 5-ER-1008-14, FWS in no way considered (in either
2008 or 2015) whether the renewed contracts were compatible with the RPA, or

whether changes to the contract terms were appropriate to meet the RPA—despite
court decisions recognizing the tension between the RPA and contractors’ water
supply expectations. See 3-ER-0623-24; In re Consolidated Delta Smelt Cases,

717 F.Supp.2d 1021, 1070 (E.D. Cal. 2010) (enjoining aspects of the RPA that
clashed with “public expectations” for diversions and exports created by the water
delivery contracts); In re Consolidated Delta Smelt Cases, 812 F.Supp.2d 1133,
1204 (E.D. Cal. 2011), appeal dismissed as moot, judgment vacated (9th Cir. 11-
17143) (enjoining RPA’s fall outflow action to reduce impacts to water
contractors).14

      13
          An action jeopardizes a species’ existence if it “reasonably would be
expected, directly or indirectly, to reduce appreciably the likelihood of both the
survival and recovery of a listed species in the wild[.]” 50 C.F.R. §402.02 (as in
effect Oct. 27, 2019).
       14
          For instance, the RPA increasing fall outflow through the Delta required
Reclamation to hold sufficient water behind upstream dams, including its largest—
Shasta Dam—to be released in the fall and therefore could affect the amount of
water in the Sacramento River in the summer and fall for diversion by the SRS

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        Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 31 of 78




       FWS failed to consider yet another important aspect of the problem when it
refused to address the wealth of information available to the agency since 2008

showing that the Delta flows as actually implemented under the 2008 FWS BiOp
were insufficient to protect Delta Smelt. See Section I.B, infra. This failure was
particularly egregious given the evidence before FWS of Reclamation’s inability to

comply with required state law smelt protections (which the 2008 FWS BiOp had
relied on) while providing contract deliveries during dry water years. See Section
I.C, infra.

       B. FWS Ignored the Best Available Science
       FWS made no attempt to ensure that its 2015 consultation was based on “the
best scientific and commercial data available,” as required by the ESA. 16 U.S.C.

§1536(a)(2). “Under this standard, an agency must not disregard available
scientific evidence that is in some way better than the evidence it relies on.”
Locke, 776 F.3d at 995 (brackets, quotation omitted). “Essentially, FWS ‘cannot
ignore available biological information.’” Kern Cnty. Farm Bureau v. Allen, 450
F.3d 1072, 1080-81 (9th Cir. 2006) (quoting Conner v. Burford, 848 F.2d 1441,
1454 (9th Cir. 1988)). Even if an agency has a reasonable basis for disagreeing

with available information, it must acknowledge and address that information in
some way in its decision. Locke, 776 F.3d at 995; see also Ctr. for Biological
Diversity v. Zinke, 900 F.3d 1053, 1068-69 (9th Cir. 2018) (agency ESA action


Contractors. 5-ER-1011-12. The RPA limiting water exports from the Delta at
certain times of year affected the amount and timing of water that could be
delivered to the DMC Contractors. 5-ER-1009-11.
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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 32 of 78




was arbitrary and capricious for failing to provide any reason for ignoring a
scientific study).15 An agency “cannot rely on its briefing… to explain why” it

ignored scientific evidence. Ctr. for Biological Diversity, 900 F.3d at 1069. “The
explanation must be evidenced from the … decision itself.” Id.
      Here, FWS violated this statutory requirement by disregarding seven years

of important data and analyses on the status of Delta Smelt, the impacts of low
Delta outflow on the species, and hydrology and flows in the Delta.
      To begin, FWS ignored a comprehensive 2015 study (“MAST Report”) by

federal and state scientists that concluded—based on new modeling and data—that
Delta spring outflows have a strong effect on juvenile Delta Smelt abundance, in
addition to the fall flows required by the 2008 FWS BiOp to protect adult Delta

Smelt. 6-ER-1136, 6-ER-1154, 6-ER-1190-93, 6-ER-1197-1200. There is no
mention of the 2015 MAST Report in FWS’s concurrence, even though FWS had
previously acknowledged that the report constitutes “valid new information that
spring outflow has a positive impact on the relative abundance of Delta Smelt[.]”
4-ER-0631 (FWS Jan. 30, 2015 letter to Reclamation). Nor is there any analysis of
the contracts’ effects on Delta spring outflows and juvenile Delta Smelt. FWS’s

failure to even mention, let alone provide any discussion or explanation of, this
important new scientific evidence is arbitrary and capricious.



      15
         Center for Biological Diversity concerned the identical ESA requirement
that wildlife agencies rely on the “best scientific and commercial data available”
when listing species as endangered. See 900 F.3d at 1068; 16 U.S.C.
§1533(b)(1)(A).
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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 33 of 78




      FWS also disregarded its and Reclamation’s own 2010 expert testimony to
the State Water Resources Control Board (“State Board”) on the need for increased

Delta outflow to ensure the continued survival of Delta Smelt. See 7-ER-1424
(“Increased Delta inflows are needed to improve the quality and availability of
habitat within the Delta.”), 7-ER-1391-98, 7-ER-1407-12, 7-ER-141929. FWS’s

and Reclamation’s scientists’ testimony “focused on providing the best available
scientific information regarding flow criteria” for the Delta, 7-ER-1378, and
provided analysis, as well as information from several studies, post-dating the 2008

FWS BiOp regarding the need for improved Delta flows to protect Delta smelt.
See, e.g., 7-ER-1391-98, 7-ER-1407-12, 7-ER-1419-29. The ESA required FWS
to address this updated scientific information regarding Delta flows in considering

the contracts’ effects. Ctr. for Biological Diversity, 900 F.3d at 1069.
      FWS also failed to address survey data showing that the Delta Smelt
population had dropped to unprecedented low levels in the two years before the
consultation. See 4-ER-0737; 3-ER-0586, 3-ER-0609; 6-ER-1358-59; 7-ER-1504-
05 (collectively, showing that fall, spring, and summer surveys by state fisheries
agency returned record-low catches in 2014 and 2015). There is no question that

the 2014 and 2015 surveys were up-to-date information and “in some way better,”
Locke, 776 F.3d at 995, than the outdated population statistics in the 2008 FWS
BiOp, particularly as they showed the current plight of the species and indicated
that the 2008 RPA and state flow protections were not working as intended. Yet
FWS wrongly omitted any explanation or assessment of the survey results, or of
how the renewed contracts could be expected to affect the species in light of the
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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 34 of 78




increasing vulnerability of the population. Cf. 7-ER-1476 (“reduced survival in
one year can have significant effects on the population over the long term”).

      Even though FWS based its concurrence letter entirely on the 2008 FWS
BiOp, the district court incorrectly found that the surveys and MAST Report were
“considered” because they were referenced or summarized in documents

Reclamation provided to FWS. 1-ER-0066-68. But that FWS was aware of the
science does not satisfy its obligation to actually address it: FWS’s 2015
concurrence in no way assessed this updated available biological information, even

to “disagree[] with” or “discredit[]” it, Locke, 776 F.3d at 995. FWS cannot
simply ignore available studies that contradict its findings, but must “provide a
reason” or “explain why” it chose to rely solely on the 2008 FWS BiOp to assess

the contracts’ impacts. Ctr. for Biological Diversity, 900 F.3d at 1068-69 (agency
did not satisfy best available evidence requirement when it cited some portions of a
recent study, but failed to explain why it did not rely on other portions that
contradicted the agency’s decision).16
      FWS also failed to address new information pertaining to flows in the Delta
that demonstrated Reclamation’s failure to comply with minimum Delta flow

protections while making CVP contract deliveries during drought years. This too
violates the best available science requirement and is arbitrary and capricious. See
Section I.C, infra.

      16
         The concurrence letter’s passing reference to FWS’s “concern[]” about the
“low numbers in … recent survey efforts,” 4-ER-0749, does not satisfy the
agency’s obligation, including because FWS merely postponed any analysis of the
declining population to a future time. See Section I.E, infra.
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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 35 of 78




      C. FWS Ignored Degraded Baseline Conditions and Relied on Incorrect
         Assumptions
      It is arbitrary and capricious for an agency to “fail[] to incorporate degraded

baseline conditions into its jeopardy analysis.” Nat’l Wildlife Fed’n v. Nat’l
Marine Fisheries Serv., 524 F.3d 917, 929 (9th Cir. 2008). “The proper baseline
analysis is … what jeopardy might result from the agency’s proposed actions in the

present and future human and natural contexts.” Id. at 930 (quotation, brackets
omitted). The consulting agency is required to “consider the effects of its actions
within the context of other existing human activities that impact the listed species.”

Id. (quotation omitted). Moreover, basing a consultation decision on incorrect
assumptions is arbitrary and capricious. See Ctr. for Biological Diversity v. U.S.
Fish & Wildlife Serv., 33 F.4th 1202, 1215, 1221 (9th Cir. 2022).

      FWS’s 2015 concurrence failed to address available information showing
that the 2008 FWS BiOp’s baseline requirement of Reclamation meeting state flow
requirements under the State Board’s Water Rights Decision No. 1641 (“D-1641”)
was not being met. The 2008 FWS BiOp requires those state Delta outflow
requirements and export limits maintaining conditions suitable for Delta Smelt to
remain in effect. 5-ER-0870, 5-ER-0882-86, 5-ER-1063-67; 4-ER-0635; 7-ER-

1446-48. But Reclamation repeatedly sought and obtained waivers weakening
those requirements during drought years, and therefore operated the CVP to
provide significantly less Delta outflow and greater Delta water exports than the
2008 FWS BiOp had anticipated and relied on. See, e.g., 7-ER-1461-65, 7-ER-
1472-75, 7-ER-1487.


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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 36 of 78




      FWS knew that the 2008 FWS BiOp’s requirements were not being met—it
explicitly recognized in a March 2015 letter that Reclamation’s “proposed

modifications to D-1641 [in 2014 and 2015] were not anticipated in the project
description for the 2008 BiOp.” 4-ER-0737. FWS also knew that the contracts
were contributing to Reclamation’s failure to comply with the state requirements,

as Reclamation sought waivers of the requirements in large part to continue
delivering water pursuant to the contracts. 7-ER-1465, 7-ER-1490 (“Without the
changes …, the Projects would need to reduce deliveries in order to satisfy D-1641

requirements.”), id. (“The primary beneficiaries of the changes will be water
users.”), 7-ER-1493. The resulting Delta flows, which were lower than those
evaluated and authorized by the 2008 BiOp, rendered the Delta Smelt’s habitat

even less hospitable, information FWS was obligated to evaluate. 7-ER-1477; 4-
ER-0719-27; 6-ER-1373-74.
      D. FWS Failed to Consider the Entire Scope of the SRS Contracts.
      FWS’s concurrence is further invalid because, by relying exclusively on the
2008 FWS BiOp that considered the effects of CVP/SWP operations through 2030,
the agency entirely failed to consider the effects of renewing the SRS Contracts

through 2045. This is a clear violation of the ESA’s requirement that a consulting
agency “‘analyze the effect of the entire agency action,’” Wild Fish Conservancy,
628 F.3d at 521 (quoting Conner, 848 F.2d at 1453). The district court’s
suggestion that it was permissible for FWS to truncate its analysis because it could
conduct future consultations to address that flaw is wrong as a matter of law.


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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 37 of 78




      It is well settled that a consultation “must be coextensive with the agency
action.” Conner, 848 F.2d at 1457-58. That means a consultation must analyze

the entire duration of a proposed action. See Pac. Coast Fed’n of Fishermen’s
Ass’ns v. Bureau of Reclamation, 426 F.3d 1082, 1094 (9th Cir. 2005) (wildlife
agency cannot approve action that impacts species “for several generations without

any analysis of how doing so will affect the species”). Failure to do so is contrary
to the ESA and arbitrary and capricious for failing to consider an important aspect
of the problem. See Wild Fish Conservancy, 628 F.3d at 521.

      Here, FWS’s consultation only analyzed a portion of the SRS Contracts’
duration. In 2005, Reclamation renewed the SRS Contracts for a term of 40
years—through 2045. 3-ER-0538. Because FWS’s concurrence relied exclusively

on the 2008 FWS BiOp, 4-ER-0746-49, it necessarily included no analysis of
impacts of the contracts beyond 2030, the end of the period analyzed in the 2008
FWS BiOp. See, e.g., 5-ER-0863, 5-ER-0992-95 (2008 FWS BiOp’s modeling,
analysis, and conclusions do not extend beyond 2030); 5-ER-1057, 5-ER-1106, 5-
ER-1110. That means FWS approved a 40-year action without conducting any
analysis of the effects of 15 years—or nearly 40%—of the action. FWS did not

even acknowledge that its analysis only covered a fraction of the SRS Contracts’
term, and provided no explanation of why such a truncated analysis would satisfy
its ESA obligations to analyze the “entire” agency action, Wild Fish Conservancy,
628 F.3d at 521. FWS’s omission is especially glaring given that the 2008 FWS
BiOp found that CVP operations, including those to satisfy the SRS Contracts,


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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 38 of 78




over 25 years would jeopardize the continued existence of the species, 5-ER-1005.
FWS’s failure to analyze the effects of the entire action was patently improper.

       The district court properly recognized that if Reclamation was correct in its
claim that it could not revise or depart from the renewed contracts upon a
reinitiated consultation, then the truncated temporal scope of the consultation

regarding Delta Smelt was unlawful. 1-ER-0055 (“Defendants cannot have it any
other way. Either the present consultation fails … or the SRS Contracts must be
subject to future restrictions[.]”). In upholding FWS’s woefully inadequate

consultation and the clear ESA violation occasioned by FWS’s failure to consider
the entire scope of the SRS Contracts, the district court held that Reclamation
could “revisit” the terms of the SRS Contracts to impose “additional protections”

for Delta Smelt under Article 7(b) if necessary in future consultations. 1-ER-0054-
56.
      As an initial matter, NRDC agrees with the district court’s ruling that water
quantities in the SRS Contracts can be revised under Article 7(b) in reinitiated
consultations on the contracts. See Section III.A.1, infra. The court’s reasoning,
however, contradicts its earlier ruling that Reclamation could not change or depart

from the SRS Contracts’ terms once they were executed (including under SRS
Contract Article 7(b)), 1-ER-0107-08, and thus that Reclamation could never be
required to reinitiate consultation on those contracts, 1-ER-0095-111 (dismissing
NRDC’s claim for reinitiation of consultation on Chinook salmon).
      Regardless, whether Reclamation and FWS have the ability to reinitiate
consultation at some later point does not justify FWS’s failure to consider the
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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 39 of 78




entire scope of the SRS Contracts. Certainly, if the SRS Contract terms could not
be revised in the future, then FWS was required to analyze the full effects of the

renewals before it approved them. See Section I.E, infra. And if Reclamation
retains discretion to revise the terms, FWS was still required to consider the SRS
Contracts’ full scope because the “artificial division” of an agency action into

“incremental[] step[s]” can “undermine the consulting agency’s ability to
determine accurately the species’ likelihood of survival” and result in “piecemeal
chipping away of habitat” for endangered species. Wild Fish Conservancy, 628

F.3d at 522 (quotations omitted).
      E. FWS Impermissibly Deferred Analysis of the Contracts’ Effects.
      The ESA does not permit consulting agencies to postpone considering the

effects of an action. See Wild Fish Conservancy, 628 F.3d at 522; Conner, 848
F.2d at 1455 (discussing ESA’s “clear mandate” that a “comprehensive”
consultation “be completed before initiation of the agency action”) (italics added);
Nat. Res. Def. Council v. Houston, 146 F.3d 1118, 1129 (9th Cir. 1998) (“The
failure to respect the process mandated by law cannot be corrected with post-hoc
assessments of a done deal.”). But although FWS’s concurrence conceded that

“recent survey efforts” demonstrated a “continued decline” of Delta Smelt, FWS
improperly punted any analysis of whether the Delta outflows needed to protect the
species could be met under the contracts to unspecified “future consultations.” 4-
ER-0749. FWS did so without explaining why or how the contracts would not
jeopardize the species’ continued existence and recovery in the meantime. Id.
That deferral of analysis was unlawful: It is well-established that any “duty to
                                         29
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 40 of 78




reinitiate consultation in the future … does not diminish the Service’s obligation
to prepare a comprehensive [consultation] now.” Wild Fish Conservancy, 628

F.3d at 525. Moreover, FWS’s finding of no adverse effects and postponement of
any further action to protect Delta Smelt was plainly contrary to the evidence
before it.17 See Section I.F, infra.
      F. FWS Failed to Articulate a Rational Connection Between its
         Conclusion and the Evidence, and its Conclusion Is Counter to the
         Evidence.
      FWS’s concurrence that renewal of the contracts was not likely to adversely
affect Delta Smelt was counter to the post-2008 evidence before it that the Delta
Smelt population had crashed in recent years; that increased and more frequent

Delta outflows were needed to sustain the population; that underlying state-law
Delta flow requirements were being waived rather than left in place to protect
Delta Smelt; and that the contracts’ water delivery obligations interfered with

Reclamation operating the CVP to provide the needed Delta flows. See Locke, 776
F.3d at 991; see Sections I.A-E, supra. The agency’s perfunctory concurrence and
reliance on outdated data is particularly glaring given that, just months later, FWS
admitted the population and flows information post-dating 2008 was highly
relevant and showed potential jeopardy of Delta Smelt. See RJN Ex. 4 (FWS

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         FWS’s failure to address the import of the Delta Smelt’s continued decline
was especially arbitrary and capricious given FWS’s prior internal
acknowledgement that the surveys showed current Delta flows might be
insufficient to avoid jeopardy and that the contracts might need to be “revisited” to
provide the needed flows, 3-ER-0624, and Reclamation’s position that its actions
could not be changed to protect species in future consultations, see Section III,
infra.
                                         30
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 41 of 78




reinitiating consultation on CVP/SWP operations in August 2016 because “new
information is demonstrating the increasingly imperiled state of the Delta Smelt

and … emerging science shows the importance of outflows to all life stages of
Delta Smelt”). FWS should have found a likelihood of adverse effects and
prepared a biological opinion on whether the SRS and DMC contracts jeopardize

Delta Smelt. See 50 C.F.R. §402.14(a), (b) (as in effect Oct. 27, 2019).
      By failing to address, explain, or provide any reasoning in the concurrence
discussing its conclusion in light of post-2008 information or evidence, FWS failed

to articulate a rational connection between its finding and the evidence in the
record. See Wild Fish Conservancy, 628 F.3d at 529, 535. A reviewing court may
not “infer an analysis that is not shown in the record.” Nat’l Wildlife Fed’n, 524

F.3d at 923 n.10 (quotation omitted); see also Dep’t of Homeland Sec., 140 S.Ct. at
1907. Because FWS provided no justification or analysis for basing its
concurrence solely on an outdated, jeopardy biological opinion, its finding of “no
adverse effects” is arbitrary and capricious.

II.   Reclamation Is Violating Its ESA Duties To Consult On The Contract
      Renewals’ Effects On Delta Smelt And To Avoid Jeopardizing Delta
      Smelt

       A. Reclamation Has Never Performed a Valid Delta Smelt Consultation
          on the Renewal of the Contracts
       This Court previously stated in no uncertain terms that “[Reclamation] was
… required to engage in a Section 7(a)(2) consultation prior to renewing the
Settlement [and DMC] Contracts.” Jewell, 749 F.3d at 785; see also Houston, 146
F.3d at 1129 (executing long-term water contracts before performing a valid

                                          31
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 42 of 78




consultation violates the ESA). The 2005 consultation was invalid because it
relied on the unlawful 2005 FWS BiOp. Jewell, 749 F.3d at 782. Ten years later,

when Reclamation was finally forced to consult on the contract renewals, that
consultation was invalid for multiple independent reasons, as explained above. See
Section I, supra. Reclamation thus continues to be in violation of its procedural

duty to perform a valid ESA consultation before executing the renewed contracts.
See 16 U.S.C. §1536(a)(2).
      Reclamation is also in violation of its substantive duty to ensure that its

operations are not likely to jeopardize Delta Smelt. See 16 U.S.C. §1536(a)(2);
Pyramid Lake Paiute Tribe of Indians v. U.S. Dep’t of Navy, 898 F.2d 1410, 1415
(9th Cir. 1990). Reclamation cannot meet its substantive obligations by relying on

a legally flawed consultation. Wild Fish Conservancy, 628 F.3d at 532; Ctr. for
Biological Diversity v. U.S. Bureau of Land Mgmt., 698 F.3d 1101, 1127 (9th Cir.
2012). An agency also violates its substantive obligations if it arbitrarily and
capriciously continues its action despite “new information” that “undercut[s]” the
consultation’s conclusions. Wild Fish Conservancy, 628 F.3d at 532.
      Here, it was arbitrary and capricious for Reclamation to rely on the 2015

consultation with its obvious legal flaws. See Sections I.A-F, supra; Wild Fish
Conservancy, 628 F.3d at 532 (relying on consultation with improper scope and no
rational connection to the evidence violated substantive ESA duties). It was
further arbitrary and capricious for Reclamation to rely on the 2015 consultation
given the other information before the agency that undercut the conclusion that the
contracts did not adversely affect Delta Smelt. This includes Reclamation’s
                                          32
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 43 of 78




acknowledgment that “meeting the … needs of resident species in the Delta,
delivery of water to … Sacramento Settlement Contractors, and Delta outflow

requirements … may be in conflict.” 23-ER-5264. That acknowledgment was
consistent with other agencies’ findings, including the State Board, which found
that Reclamation’s requested waivers of state flow requirements in 2014 and 2015

redirected more than one million acre-feet of water from Delta protections to
contract deliveries, cutting Delta outflows in half, 23-ER-5280-81, and that those
waivers harmed Delta Smelt, 23-ER-5259. See also 23-ER-5267, 23-ER-5270

(2015 fall smelt survey returned record-low results).

   B. Reclamation Obstructed the 2015 Consultation by Misrepresenting its
      Discretion in Renewing the SRS Contracts
      Reclamation is further in violation of its duty to consult because it
affirmatively undermined the 2015 consultation, instructing FWS in a manner
designed to prevent FWS from considering the full effects of the very agency
action at issue: Reclamation’s contract renewal negotiations. Even though the
consultation was purportedly to consider the renewals, Reclamation never
acknowledged—and expressly disavowed—that the contracts entered into without
a valid consultation could actually be modified or rescinded. This position was
directly at odds with this Court’s ruling in Jewell. 749 F.3d at 784-85.
      Specifically, Reclamation impeded the 2015 consultation by misrepresenting
Reclamation’s abilities to negotiate different terms when renewing the SRS
Contracts and to decide whether to renew those contracts. Reclamation’s
misrepresentations matter because consulting wildlife agencies can only consider

                                         33
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 44 of 78




and formulate alternatives or modifications to the action that “can be implemented
consistent with the scope of the Federal [action] agency’s legal authority and

jurisdiction.” 50 C.F.R. §402.02; see id. §§402.13(b), 402.14(h)(3) (as in effect
Oct. 27, 2019). By disclaiming any discretion to negotiate for different quantity,
pricing, or timing terms or to consider non-renewal, Reclamation prevented FWS

from analyzing whether such terms would be less detrimental to Delta Smelt and
their habitat than the proposed terms, and thus prevented FWS from identifying
any modifications to avoid the likelihood of adverse effects or any RPA to avoid

jeopardy. See id. §§402.13(b) (modifications to avoid adverse effects),
402.14(g)(5), (h)(3) (RPA to avoid jeopardy), (j) (conservation recommendations).
      Reclamation therefore improperly shielded the SRS Contract renewals from

any meaningful ESA review. A consultation based on a false description of the
agency’s discretion cannot be valid; otherwise, agencies could circumvent ESA
review at will. See Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv., 422 F.3d
782, 794 (9th Cir. 2005) (finding agency “improperly circumscribe[ed] the scope
of the consultation” to shield parts of its action from the consultation analysis);
Wild Fish Conservancy, 628 F.3d at 521-22 (“the scope of the agency action is

crucial” and “can have a determinative effect on the ability of a biological opinion
to fully describe” and mitigate the impact of the action) (quotation omitted).
      This Court has already determined that Reclamation had discretion over the
SRS Contracts’ renewal and the renewal terms, and Reclamation’s representations
to the contrary to FWS were unreasonable and contrary to law. For example,
Reclamation’s 2015 assertion that it was required to renew the contracts for the
                                          34
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 45 of 78




same pricing and timing terms, 3-ER-0546-48, was already decided by Jewell,
which held “[Reclamation] could benefit the Delta Smelt by renegotiating the

Settlement Contracts’ terms with regard to, inter alia, their pricing scheme or the
timing of water distribution,” 749 F.3d at 785. Reclamation cannot relitigate those
issues now. See Pakootas v. Teck Cominco Metals, LTD, 830 F.3d 975, 986 (9th

Cir. 2016) (“An appellate panel simply cannot modify an en banc decision.”)
(quotation omitted); Nordstrom v. Ryan, 856 F.3d 1265, 1270 (9th Cir. 2017) (law
of the circuit and law of the case). Reclamation’s attempt to overrule Jewell’s

plain holding by telling FWS it lacked discretion over timing and pricing is the
epitome of agency action that is contrary to law.18
      Reclamation’s assertion to FWS that it was required to renew the contracts,

and to renew them for the same quantities of water, also has no legal basis. Jewell
held that “nothing in the original Settlement [SRS] Contracts requires the Bureau
to renew” those contracts. 749 F.3d at 785. Moreover, in renewing the SRS
Contracts in 2005, Reclamation did exercise discretion to negotiate changes to
quantity terms, resulting in a net reduction of 170,000 acre-feet from the original
contracts: Reclamation reduced base supply quantities in two of the

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          Jewell already considered the same pricing statutes that Reclamation cited
to FWS in 2015. See 25-ER-5789-99; 24-ER-5688-89. Those statutes only set a
minimum for CVP contract pricing. See Flint v. United States, 906 F.2d 471, 475-
76 (9th Cir. 1990); 43 U.S.C. §485h(e); 43 U.S.C. §390hh(a). Reclamation’s
claims to FWS regarding timing were based solely on Reclamation’s contention
that it could not change the quantity, which is wrong as discussed infra.
                                         35
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 46 of 78




renewed SRS Contracts;19 reduced project water for 18 renewed contracts;20
increased base supply for four renewed contracts;21 and increased project water for

one contract by 30,000 acre-feet.22
      Reclamation’s renewal of the contracts in 2005 also demonstrated that it had
discretion to negotiate other new terms. Reclamation negotiated a new shortage

provision, Article 3(i), that reserves Reclamation the right to reduce project water
quantities in certain circumstances; it negotiated for new water conservation
requirements; increased the price of project water; and imposed a new fee for

rescheduling base water diversions. 3-ER-0508-09; 17-ER-3569; see, e.g., 15-ER-
3126, 15-ER-3128, 15-ER-3130-31, 15-ER-3148.



      19
         3-ER-0502-03; see 17-ER-3660; 8-ER-1547 (Anderson-Cottonwood); 21-
ER-4796; 16-ER-3499 (Sutter Mutual).
      20
         Project water quantities were reduced for Anderson-Cottonwood, Carter
Mutual, Conaway, Christo Bardis (Pelter Road 1700), M&T Chico (Pacific
Realty), Natomas, Pelger Mutual, Pleasant Grove-Verona, Princeton, Provident,
Reclamation District 1004, Reclamation District 108, River Garden Farms,
Sacramento River Ranch (te Velde Family Trust), Sutter Mutual, Tisdale, Wallace
(Knights Landing), and Windswept Land. Compare 17-ER-3660; 17-ER-3757;
17-ER-3809; 21-ER-4652; 18-ER-3943; 18-ER-4083; 19-ER-4216; 19-ER-4262;
19-ER-4303; 20-ER-20-ER-4374; 20-ER-4578; 20-ER-4536; 21-ER-4701; 21-ER-
4744; 21-ER-4796; 21-ER-4836; 22-ER-4882; 22-ER-4926 (original contracts)
with 8-ER-1547, 15-ER-3113, 12-ER-2588, 11-ER-2545, 14-ER-2900; 11-ER-
2414; 15-ER-3278; 15-ER-3321; 16-ER-3368; 14-ER-3028; 16-ER-3412; 16-ER-
3456; 14-ER-2945; 14-ER-2987; 16-ER-3499; 16-ER-3542; 13-ER-2731; 14-ER-
3069 (renewed contracts, in the same order).
      21
         See 17-ER-3757; 15-ER-3113 (Carter); 20-ER-4374; 14-ER-3028
(Provident); 20-ER-4495; 12-ER-2633 (Richter); 21-ER-4701; 14-ER-2945 (River
Gardens).
      22
         18-ER-3859; 15-ER-3153.
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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 47 of 78




      Reclamation’s 2015 disavowals of discretion are also belied by a long
history of statements that it could negotiate for different terms—statements

Reclamation made during the renewal process;23 in this litigation;24 and to the SRS
Contractors.25
      Reclamation’s assertion that it cannot consider the needs of protected

species when negotiating contracts that require Reclamation to operate the CVP to
deliver water is also contrary to federal and state law. The Central Valley Project
Improvement Act (“CVPIA”), Pub. L. No. 102-575 (1992), §3406(b) requires

Reclamation to “operate the [CVP] to meet all obligations under … Federal law,
including but not limited to the Federal Endangered Species Act[.]” Thus,
“Congress has stated, as clearly as it can, that Reclamation is to administer its

obligations to the CVP consistent with the mandates of the ESA.” San Luis &
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      23
          For instance, the final environmental impact statement on the 2005
renewals considered “five reasonable and feasible alternatives” that included
different quantity and shortage contract provisions proposed by Reclamation. 17-
ER-3592-98, 17-ER-3555-58.
       24
          Among other concessions, Reclamation previously told this Court that at
renewal “delivery of project water … can be reduced for … compliance with the
ESA,” 24-ER-5694, and agreed with NRDC that the original contracts did not
require renewal or prevent Reclamation from negotiating base or project water
quantities, 24-ER-5690, 24-ER-5695.
       25
          See, e.g., 23-ER-5309 (Reclamation 1999 letter to SRS Contractor: “[T]he
Settlement Contracts provide[] each party discretion as the term of the contracts
comes due. Options include allowing the contracts to expire, contract renewal, and
contract renegotiation.”); 23-ER-5315 (Reclamation’s prior interrogatory responses
to contractor regarding Reclamation’s “final position … that for any renewals of
the Settlement Contracts, the quantities of water … may be adjusted”).
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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 48 of 78




Delta-Mendota Water Auth v. Jewell, 747 F.3d 581, 640 (9th Cir. 2014). Nothing
about the SRS Contracts’ renewals removed that statutory discretion.

      Federal and state law also give Reclamation discretion to negotiate reduced
water quantities if the water Reclamation provides is not being put to reasonable
and beneficial use or would harm public trust resources. See Section III.B, infra.

Reclamation has conceded that in renewing the SRS Contracts it can reduce even
base supply if the water will not be put to reasonable and beneficial use. 4-ER-
0742; 24-ER-5683-84.

      The rationales Reclamation provided to FWS in 2015 in support of its
constrained scope of consultation find no support in the law. First, despite
previously representing to this Court that Article 9(a) in the original SRS Contracts

did not require renewal or prevent Reclamation from negotiating changes to project
or base water to protect listed species, 24-ER-5690, 24-ER-5695, on remand
Reclamation instructed FWS that Article 9(a) required renewal for the same water
quantities.26 3-ER-0546-47. Not so.
      The SRS Contracts were negotiated in the 1960s to settle the federal
government and SRS Contractors’ disputes regarding the contractors’ claimed

water rights. 15-ER-3119-20; 17-ER-3561-62. In that context, the purpose and
effect of Article 9(a) was to establish that the original contracts, as well as “any
renewals thereof,” 18-ER-3837-47, would constitute a settlement of the parties’


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         Contrary to Reclamation’s assertion to FWS, 3-ER-0546, Jewell offered
no opinion on whether Article 9(a) limited Reclamation’s discretion to negotiate
quantity terms if the SRS Contracts were renewed. See 749 F.3d at 785.
                                          38
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 49 of 78




dispute over the contractors’ quantity of water during the “term of [the original]
contract,” or, subsequently, during “the term of … any renewals thereof.”27 Id.

(italics added). Article 9(a) thus ensured the contracts actually settled the parties’
dispute for the duration of the contracts. It does not bind the parties indefinitely
and such a reading of the contracts would be unreasonable. Cf. Pac. Coast Fed’n

of Fishermen’s Ass’ns v. Dep’t of the Interior, 655 F.App’x 595, 598 (9th Cir.
2016) (“We also reject Reclamation’s argument that the contracts themselves
mandated renewal. NEPA imposes obligations on agencies considering major

federal actions that may affect the environment. An agency may not evade these
obligations by contracting around them.”).
      Second, Reclamation’s 2015 request for consultation asserted that the

purported reasonable beneficial use of Sacramento River water by the contractors
“eliminated” Reclamation’s ability to negotiate for different quantities of base
supply water. 3-ER-0546. That claim fundamentally misunderstands the
reasonable and beneficial use doctrine. That doctrine prevents Reclamation from
putting its CVP water rights to uses that are not reasonable and beneficial. Cal.
Const. art. X, §2; Envt’l Def. Fund v. E. Bay Mun. Util. Dist., 26 Cal.3d 183, 200

(Cal. 1980). It does not require Reclamation to give a contract to everyone who

      27
         Article 9(a) in the original contracts provided: “During the term of this
contract and any renewals thereof: (1) It shall constitute full agreement as between
the United States and the Contractor as to the quantities of water and the allocation
thereof between base supply and Project water which may be diverted by the
Contractor from its source of supply for beneficial use …. (2) The Contractor shall
not claim any right against the United States in conflict with the provisions
hereof.” 18-ER-3837-38.
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       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 50 of 78




contends they will put (or will continue putting) the water provided by
Reclamation to reasonable and beneficial use.28 Although the SRS Contractors

may claim water rights under state law, those asserted rights have never been
specifically defined or quantified.29 See 25-ER-5925-27; 26-ER-6034; 3-ER-0365;
17-ER-3562-62, 17-ER-3585-86.

      Finally, the SRS Contractors’ repeated protestations that their undefined
senior water rights entitle them to the exact terms of the 1960s settlement contracts
are unfounded. To give one example, the original claimed rights only allow the

SRS Contractors to divert in accordance with the natural flows of the undammed
Sacramento River, which had little to no summer flows. 17-ER-3561, 17-ER-
3614-16. Any right to divert those natural flows does not entitle the SRS

Contractors to the specific quantities and timing of diversions in the renewed
contracts, which provide vastly more water during the peak irrigation months of
summer than would be possible to divert if the contractors were limited to their
asserted water rights. See, e.g., 15-ER-3153; 16-ER-3499; 3-ER-0501. The SRS
Contractors want to have it both ways—contending that their asserted (yet

      28
          Plus, any reliance on reasonable and beneficial use assessments from 2004
would be unreasonable, given the intervening decline of Delta Smelt numbers and
increase in drought years. See Section III.B, infra.
       29
          While Reclamation previously agreed that its discretion to “negotiate the
terms of the SRS Contracts … including the quantities of water … is not
constrained by [State Water Board Decision] D-990” (which granted
Reclamation’s state water rights permits), 23-ER-5331, and the district court
similarly rejected the SRS Contractors’ (counter-factual) arguments that D-990 and
state law precluded Reclamation from negotiating new terms on renewal, 25-ER-
5921-31, Reclamation attempted to resurrect those arguments in briefing to the
district court. They should be rejected again.
                                         40
        Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 51 of 78




unadjudicated) senior rights are inviolate while also cementing the more beneficial
settlement terms.

       In short, the SRS Contractors have no legal entitlement to new contracts on
the same terms as their original settlement contracts, and certainly no entitlement
to new contracts on terms that jeopardize listed species.30 Reclamation’s insistence

otherwise and its disavowal of discretion—including discretion that Jewell already
confirmed exists—resulted in an arbitrary and unlawful consultation that failed
adequately to assess the impacts of the renewed SRS Contracts on Delta Smelt.
III.   The District Court Erred In Dismissing NRDC’s Claim That
       Reclamation Was Obligated To Reinitiate Consultation Regarding The
       SRS Contracts’ Effects On ESA-Listed Chinook Salmon
       Reclamation was required to reinitiate consultation regarding the effects of
the SRS Contracts on ESA-listed Chinook salmon because Reclamation retained
sufficient discretion and control over the contracts and significant new information

demonstrated that the SRS Contracts are having devastating impacts on the
species. Dismissal of this claim was error.
       “Reinitiation of … consultation is required … where discretionary Federal
involvement or control over the action has been retained or is authorized by law
and ... new information reveals effects of the action that may affect listed species

       30
         Even if state law did purport to prevent Reclamation from negotiating
renewed contract terms necessary to conserve Delta Smelt (which it does not), it
would be preempted by the ESA. See Nat’l Audubon Soc’y, Inc. v. Davis, 307 F.3d
835, 852 (9th Cir. 2002), amended on denial of reh’g, 312 F.3d 416 (9th Cir. 2002)
(“to the extent [state law] prevents federal agencies from protecting ESA-listed
species, it is preempted by the ESA”); United States v. State Water Res. Control
Bd., 694 F.2d 1171, 1177 (9th Cir. 1982).
                                          41
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 52 of 78




or critical habitat in a manner or to an extent not previously considered.” 50
C.F.R. §402.16 (as in effect Oct. 27, 2019). “Action” includes “all activities or

programs of any kind authorized, funded, or carried out, in whole or in part, by
Federal agencies[.]” Id. §402.02. To determine discretion, a court asks “whether
the agency has any discretion to act in a manner beneficial to a protected species or

its habitat.” Jewell, 749 F.3d at 784. An “agency lacks discretion only if another
legal obligation makes it impossible for the agency to exercise discretion for the
protected species’ benefit.” Id.

      “An agency’s duty to … reinitiate consultation, applies whether an agency
action is ongoing or complete.” Ctr. for Biological Diversity v. Envt’l Protection
Agency, 847 F.3d 1075, 1084 (9th Cir. 2017) (quotation omitted). Thus, “a project

undertaken pursuant to a preexisting agreement [can] not avoid the …
[consultation] requirements of section 7(a)(2) if the project’s implementation
depend[s] on an additional agency action.” Sierra Club v. Babbitt, 65 F.3d 1502,
1508 (9th Cir. 1995) (citing O’Neill v. United States, 50 F.3d 677, 680-81 (9th Cir.
1995) as “explaining why [the consultation requirement] applies to a preexisting
water service contract where the United States must act each year to supply the

water”). This is because an agency has sufficient discretion to trigger a reinitiation
obligation with respect to an “ongoing agency activity” if it could exercise
discretion for protected species, Turtle Island Restoration Network v. Nat’l Marine
Fisheries Serv., 340 F.3d 969, 977 (9th Cir. 2003); even where an agency’s action
is “complete,” “continuing [federal] authority” over the action that could “inure to
the benefit” of protected species will be sufficient to warrant reinitiation.
                                          42
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 53 of 78




Cottonwood Env’tl L. Ctr. v. U.S. Forest Serv., 789 F.3d 1075, 1087 (9th Cir.
2015) (quotations omitted) (reinitiation regarding forest management plans

appropriate where agency remained “involved” because it would “make additional
decisions” to “implement” the plans at the site-specific level); see also Crowman
Corp. v. United States, 51 Fed. Cl. 654, 657-58 (2002) (agency need not be entitled

to “amend” an existing contract to reinitiate consultation; reinitiation is also
required if the agency retains “sufficient discretionary authority” to act “pursuant
to the contract” to benefit species).

      Here, Reclamation’s responsibility to reinitiate consultation was triggered
when NMFS’s 2009 replacement biological opinion on CVP/SWP operations
(“2009 NMFS BiOp”) concluded that CVP/SWP operations would jeopardize

Chinook salmon; when Reclamation’s 2014 and 2015 Shasta Dam releases to
satisfy the SRS Contracts caused high Sacramento River temperatures and the
near-total mortality of juvenile Chinook salmon each year; and when Reclamation
sought and secured waivers in 2014 and 2015 that weakened Chinook salmon
protections required by the 2009 NMFS BiOp and allowed Reclamation to increase
water deliveries to contractors, including the SRS Contractors. 24-ER-5526-28;

24-ER-5559-60, 24-ER-5571-72, 24-ER-5424-89.
      The district court erred in dismissing NRDC’s claim for reinitiation of
consultation on the SRS Contracts for ESA-listed Chinook salmon on the ground
that NRDC failed to allege sufficient discretion on the part of Reclamation to act to
protect the species after the contracts were renewed. On the contrary, NRDC
alleged ample continuing discretion, including Reclamation’s continuing
                                          43
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 54 of 78




involvement and control, provided by the terms of the contracts and authorized by
state and federal law, over its operations of the CVP to provide water for the SRS

Contractors’ diversions and to otherwise perform the contracts’ terms. See 24-ER-
5572-73, 24-ER-5581.
      A. The Terms of the SRS Contracts Confirm that Reclamation Retains
         Discretionary Involvement and Control
      To provide water to satisfy the SRS Contractors’ diversions under the
contracts, Reclamation must release water from upstream CVP reservoirs,
including Shasta Reservoir, into the Sacramento River. 24-ER-5527-28, 24-ER-
5546-48. In drought years when the reservoirs are low, releases to satisfy the SRS
Contractors’ demands in the spring often deplete the cold-water pool to such an

extent that the warmer water released in the fall causes river temperatures that are
lethal to juvenile Chinook salmon. 24-ER-5546-48, 24-ER-5572-74. The terms of
the SRS Contracts confirm that Reclamation retains discretion over how to perform
the contracts’ provisions pertaining to diversions and releases and how to structure
its CVP operations pursuant to those provisions. The SRS Contract terms also
confirm that Reclamation can exercise its discretion for the benefit of Chinook
salmon, including to enhance cold water storage in Shasta Reservoir.
         1. Reclamation can take action during the term of the contracts to
            implement protections recommended in biological opinions
      As the district court confirmed, if a consultation finds Reclamation’s
commitments in the SRS Contracts—including the commitment to supply certain
quantities of water to the contractors at certain times—are inconsistent with the
ESA, then Federal Defendants can take action to resolve the inconsistency and

                                         44
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 55 of 78




comply with the ESA. 1-ER-0054-56. Specifically, the district court held that
Article 7(b) of the contracts authorizes Federal Defendants to “revisit” the

contracts’ water quantities and other terms “if future ... consultations indicate
impacts ... [that] are not compatible with continued implementation of the SRS
Contracts.”31 1-ER-0055-56. Under Article 7(b), if a future consultation

“concludes additional protections are needed to avoid jeopardy to Delta Smelt or
adverse modification to its critical habitat ... [that] will require Federal Defendants
to revisit the SRS Contracts if doing so is necessary to implement the

recommended protections.” 1-ER-0054-55.
      This interpretation of Article 7(b) is consistent with the position Federal
Defendants took during the 2015 Delta Smelt consultation. As FWS explained:

“Reclamation has identified Article 7(b) of the SRS contracts as one that ‘may
affect the availability of water under the SRS contracts’ by requiring compliance
with biological opinions prepared as a result of a consultation regarding the
execution of the SRS contracts .... As articulated in Reclamation’s letter dated
December 11, 2015, ... any subsequent reinitiation of consultation on the
coordinated operations of the CVP and SWP ... or the SRS and DMC contract

      31
        As noted above, the district court interpreted Article 7(b) this way when
considering FWS’s failure to consider the full temporal scope of the SRS
Contracts. See Section I.D, supra. Article 7(b) provides: “The Contractor shall
comply with requirements applicable to the Contractor in biological opinion(s)
prepared as a result of a consultation regarding the execution of this Settlement
Contract undertaken pursuant to Section 7 of the Endangered Species Act of 1973,
as amended, that are within the Contractor’s legal authority to implement.” 15-
ER-3130; see United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003) (contract
terms properly considered on motion to dismiss).
                                          45
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 56 of 78




renewals would also be one ‘regarding the execution of the contract’ and would,
therefore, be subject to the terms of Article 7(b).” 4-ER-0749.

      Article 7(b) was a new provision added for the first time in the renewed
contracts. Compare 15-ER-3130 with 18-ER-3835. At the time the renewed SRS
Contracts were executed, there were no existing “requirements … in a biological

opinion[] prepared as a result of a consultation regarding the execution of the …
Contract[s]” under Article 7(b), 15-ER-3130, because the 2004 FWS BiOp and
2005 concurrence on the contract renewals had found no jeopardy. 24-ER-5558-

59. If Federal Defendants did not have discretion to reinitiate consultation on the
contracts, then Article 7(b)’s requirement for compliance with the requirements in
biological opinions would be meaningless.

      Defendants’ argument that Article 7(b)’s requirement that SRS Contractors
comply with a biological opinion somehow means that Reclamation possesses no
discretion under the contracts makes no sense. 1-ER-0107-08. The parties plainly
contracted for continued discretionary federal involvement and control by agreeing
that the SRS Contractors would be bound by any restrictions imposed by a federal
wildlife agency in a biological opinion to avoid jeopardy. Moreover, Article 7(b)

provides Reclamation with the ability to depart from the terms of the contracts to
protect species: The SRS Contractors have no contractual right to performance
under the contracts that conflicts with the requirements of a biological opinion, and
Reclamation is freed from performing any conflicting contract obligations and
instead may operate the CVP consistent with the biological opinion’s protections.


                                         46
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 57 of 78




           2. Reclamation has broad discretion over project water
      The SRS Contracts’ terms establish Reclamation’s substantial authority and

control over the administration and provision of project water.32 To begin, Article
3(i) of the SRS Contracts is a shortage provision that allows Reclamation to reduce
the water it provides to the SRS Contractors in order “to meet legal obligations.”33

This provision is effectively identical to the term in the DMC Contracts pursuant to
which Reclamation regularly reduces water deliveries to DMC Contractors to
benefit listed species. See 8-ER-1587 (DMC Art. 12(b)); 2-ER-0210; 3-ER-0549.

      Throughout this litigation, Reclamation has consistently represented that
Reclamation retains discretionary authority under Article 3(i) to reduce provision
of project water to the SRS Contractors if necessary to protect species or their

habitat. For instance, Federal Defendants previously told this Court: “Reclamation
can reduce ‘project water’ under Article (3)(i) of the SRS Contracts to comply with
the ESA” and “[s]hould it ever prove necessary for project water under the SRS
contracts to be reduced to meet legal obligations under the ESA to benefit the
Delta Smelt or other listed species, Article 3(i) gives Reclamation the same ability
to do so as it has under the DMC[] contracts.” 24-ER-5677-78; see also 25-ER-

5944, 25-ER-5954 (SRS Contracts “do not prevent Reclamation from reducing


      32
          Project water is approximately 17% of the water in the SRS Contracts. 3-
ER-0365.
       33
          Article 3(i) provides: “[I]f there is a shortage of Project Water because of
actions taken by [Reclamation] to meet legal obligations, then ... no liability shall
accrue against the United States ... for any damage, direct or indirect, arising
therefrom.” 15-ER-3128.
                                          47
        Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 58 of 78




deliveries or taking any other actions that are necessary to avoid jeopardizing the
continued existence of the delta smelt.”); 25-ER-5844-46 (Article 3(i) “allow[s] the

Bureau to completely withhold deliveries”).
       Under the plain language of Article 3(i), relevant legal obligations for which
Reclamation can reduce project water include Reclamation’s duty to provide

sufficient cold water rearing habitat for juvenile Chinook salmon species below
Shasta Dam as imposed by a NMFS biological opinion to prevent jeopardy, see,
e.g., 24-ER-5544-48, as well as conditions on Reclamation’s water rights permit

requiring it to provide protective cold water habitat conditions in the Sacramento
River, see 23-ER-5363-66 (State Board Order 90-5), 23-ER-5373-77 (D-1641).34
Reclamation’s continuing ability to reduce project water supplies to the SRS

Contractors pursuant to an ESA obligation is, independently, sufficient discretion
to reinitiate consultation.35
//


       34
          NRDC submitted these State Board decisions as judicially noticeable
documents relevant to contract interpretation. 23-ER-5405. If necessary, NRDC
could amend its complaint to add the undisputed facts in those documents.
       35
          Reclamation’s ability to decrease project water supply to comply with
legal obligations is in addition to the default shortage provision that reduces the
SRS Contracts’ water amounts by 25% during a “critical year.” 15-ER-3129 (Art.
5(a)). A “critical year” is defined by forecasted inflow to Shasta Reservoir. 15-
ER-3121-22 (Art. 1(f)). Reclamation is responsible for selecting the forecast and
has discretion to choose which forecast is used. Id. This discretion can be
exercised to benefit listed salmon—a more conservative forecast will “protect the
cold water pool in Shasta Reservoir.” See 23-ER-5395; 24-ER-5497 (SRS
Contractors admitting “there is some discretion to be exercised in forecasting” a
critical year).
                                         48
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 59 of 78




           3. Reclamation has discretionary authority over the SRS
              Contractors’ sales of contract water
      Under Article 3(e), Reclamation must approve any “sale, transfer, exchange,

or other disposal of any of the Contract Total” by the SRS Contractors, 15-ER-
3127, where “Contract Total” means all base and project water provided in the
contract, 15-ER-3121 (Art. 1(e)). To the extent Reclamation rejects a sale in order

to retain water in the Sacramento River basin, or conditions the sale on
environmental protections, the discretion could inure to the benefit of listed
species. The contracts expressly contemplate that Reclamation will consider the

effects on listed species when determining whether to approve a sale. 15-ER-3127
(requiring that a proposal for sale or transfer must provide “information sufficient
to enable [Reclamation] to comply with the … Endangered Species Act”). And

Reclamation in fact considers the impact on listed species when reviewing
proposed sales or transfers and retains the right to disapprove sales or transfers that
would adversely affect water supplies for fish and wildlife.36 For instance, in 2014,
Reclamation approved 155,500 acre-feet of SRS Contract water transfers to TCCA
only after concluding the sales would not harm fish species, 23-ER-5385-86, and
approved up to 175,226 acre-feet transfers to south-of-Delta contractors with

conditions imposed to benefit listed species, 23-ER-5389. Reclamation explicitly

      36
         See 23-ER-5382 (Reclamation requiring that SRS Contractors’ 2014 sales
to Tehama-Colusa Canal Authority (“TCCA”) “will not adversely affect water
supplies for fish and wildlife purposes”). For federal water contracts, extrinsic
evidence is admissible “to explain or supplement the agreement,” Westlands Water
Dist. v. United States, 337 F.3d 1092, 1101 (9th Cir. 2003), “even if the contract
terms are clear,” O’Neill, 50 F.3d at 684.

                                          49
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 60 of 78




considered the impact on Chinook habitat below Shasta Dam before approving the
sales. 23-ER-5393. It is thus plain that Reclamation retains discretionary authority

not just over providing contract water from Shasta Reservoir to the SRS
Contractors for sales or transfers, but also over approving or conditioning those
sales or transfers, and can exercise that discretion to benefit protected species. See

Karuk Tribe, 681 F.3d at 1026-27 (consultation duty is triggered “whenever an
agency makes an affirmative, discretionary decision about whether, or under what
conditions, to allow private activity to proceed”).
   4. Reclamation has discretion under the contracts to reduce water releases
      when necessary to protect species under state or federal law
      Article 3(h) is a shortage provision that absolves Reclamation of any liability

under the contracts for “a shortage of water … on account of errors in operation,
drought, or unavoidable causes.” 15-ER-3128. This provision allows Reclamation
to reduce releases for base and project water diversions due to drought (when those
releases are most harmful to Chinook salmon) and also due to “unavoidable
causes,” which include mandatory and unavoidable legal obligations, such as
compliance with the ESA and CVPIA to avoid jeopardy to listed species, see
O’Neill, 50 F.3d at 682-87 (“mandatory compliance with ESA and CVPIA are
shortages” excused under water contract shortage provision applying to “errors in
operation, drought, or any other causes”).
      In addition, Article 9(a) expressly incorporates the state law restriction on
reasonable and beneficial use, providing that an SRS Contractor can only divert




                                          50
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 61 of 78




water pursuant to the contract that it puts to reasonable beneficial use.37 Article
9(a) thus confirms Reclamation’s continuing discretion to assess the reasonable

beneficial use of the water it provides to the SRS Contractors and make
adjustments if necessary. See Section III.B, infra.
      Finally, Article 30(b) reinforces Reclamation’s discretion to protect ESA-

listed species that is memorialized throughout the contracts. By reserving to
Reclamation the right to implement the contracts consistent with federal and state
law,38 Article 30(b) confirms Reclamation retains discretion to make

determinations under Articles 9(a) and 3(a) (reasonable and beneficial use), 3(i)
(legal obligations), 3(h) (drought and unavoidable causes), 7(b) (compliance with
biological opinions), and other contract provisions to meet state and federal

environmental requirements, including ensuring listed species are not
jeopardized.39

      37
          See 15-ER-3124-25 (Art. 3(a): “the Contractor is hereby entitled and
authorized to divert …, for beneficial use … the Contract Total”), 15-ER-3135
(Art. 9(a): the contract “shall constitute full agreement … as to the quantities of
water … which may be diverted by the Contractor … for beneficial use”).
       38
          See 15-ER-3151 (Reclamation “shall have the right to make
determinations necessary to administer [the] … Contract that are consistent with
the provisions of [the contract], the laws of the United States and of the State of
California, and the rules and regulations promulgated by the Secretary of the
Interior”).
       39
          Additionally, if this Court confirms there has yet to be a valid consultation
on the renewals regarding Delta Smelt, see Section I, supra, then Reclamation will
once again be in the position of consulting on the renewal of the SRS Contracts,
and at that time it will possess all of the discretion otherwise available to it at
renewal. See 1-ER-0163-64; 24-ER-5572; Houston, 146 F.3d at 1129 (contracts
signed without valid consultation are not validly executed); 16 U.S.C. §1536(d).

                                          51
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 62 of 78




      B. Federal and State Law Independently Authorize Reclamation to
         Implement Water Contracts to Protect Species
      Even without Article 30(b), the terms of the SRS Contracts could not
override the federal and state laws that require Reclamation’s ongoing contract
operations to avoid jeopardizing protected species. These laws require

Reclamation to perform contract terms and, if necessary, depart from them, to
protect ESA-listed species, and thus provide the requisite discretionary authority
necessary to justify reinitiation. See 50 C.F.R. §402.16 (as in effect Oct. 27, 2019).
      First, the CVPIA requires that Reclamation “administer all existing, new,
and renewed contracts in conformance with the requirements” of the CVPIA,
which include that Reclamation “operate the Central Valley Project to meet all

obligations under State and Federal law, including but not limited to the Federal
Endangered Species Act.” CVPIA, §§3404(c)(2), 3406(b). The CVPIA was
passed in 1992, and the contract parties were well aware of its requirements and
applicability when they renewed the SRS Contracts. See 15-ER-3122.
Reclamation’s permits to operate the CVP, as amended by the State Board in 2000,
also require Reclamation to provide CVP water in compliance with ESA
requirements. 23-ER-5373-77.
      Furthermore, the background state law principles of reasonable and
beneficial use and public trust authorize and require Reclamation to reduce its
//



Thus, Reclamation at that time will necessarily have at least “some discretion” to
reinitiate consultation with respect to Chinook salmon. Jewell, 749 F.3d at 785.
                                         52
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 63 of 78




deliveries to SRS Contractors when necessary to protect species.40 See Santa
Barbara Channelkeeper v. City of San Buenaventura, 19 Cal.App.5th 1176, 1184

(2018). In California, all water rights, including Reclamation’s state permits for
water rights to operate the CVP, are limited to reasonable and beneficial use. Cal.
Const. art. X, §2; Envt’l Def. Fund, 26 Cal.3d at 200; 26-ER-6041-42. The

reasonable and beneficial use of water depends on the circumstances and can
change over time. Envt’l Def. Fund, 26 Cal.3d at 194; United States v. Alpine
Land & Reservoir Co., 697 F.2d 851, 854-55 (9th Cir. 1983). Reclamation is thus

authorized to assess whether it is unreasonable to release water from Shasta
Reservoir for SRS Contractors because that water is necessary for the preservation
of protected species. See Stanford Vina Ranch Irrigation Co. v. California, 50

Cal.App.5th 976, 1003 (2020), as modified (July 8, 2020); 23-ER-5287-307.
      Similarly, the public trust doctrine requires that natural resources, including
water and species, be held in trust for the benefit of the public, and thus provides
Reclamation discretion to reduce contract deliveries if appropriate to protect public
trust resources. See Nat’l Audubon Soc’y, 33 Cal.3d at 444 n.23, 446 (“[N]o one
can acquire a vested right to the unreasonable use of water.”); State Water Res.

Control Bd. Cases, 136 Cal.App.4th 674, 806 n.54 (2006) (“[T]he rights of an
appropriator are always subject to the public trust doctrine …, [and] the same is
true of the rights of a person who contracts with an appropriator for the use of the


      40
         The federal Reclamation Act and CVPIA require Reclamation to comply
with that non-conflicting state law when supplying CVP water. See 43 U.S.C.
§§372, 383; CVPIA §3406(b).
                                        53
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 64 of 78




water appropriated.”) (citation omitted); Santa Barbara Channelkeeper, 19
Cal.App.5th at 1185-86. Because Reclamation is obligated to implement the SRS

Contracts consistent with these legal requirements, it retains sufficient discretion to
warrant reinitiation of consultation on the SRS Contracts’ effects on listed Chinook
salmon.

                                  CONCLUSION
      The Court should reverse the district court’s decision to grant summary
judgment to Defendants, and direct the district court to enter judgment for NRDC,

on the Delta Smelt consultation claims against FWS and Reclamation, and should
reverse the district court’s dismissal of the Chinook salmon reinitiation claim
against Reclamation.


Dated: July 22, 2022                       Respectfully submitted,

                                           /s/ Barbara J. Chisholm

                                           HAMILTON CANDEE
                                           BARBARA J. CHISHOLM
                                           CORINNE F. JOHNSON
                                           Altshuler Berzon LLP

                                           KATHERINE POOLE
                                           DOUGLAS ANDREW OBEGI
                                           Natural Resources Defense Council

                                           Counsel for Plaintiffs-Appellants NRDC

                                           /s/ Nina Robertson
                                           STACEY P. GEIS
                                           NINA ROBERTSON

                                          54
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 65 of 78




                                            MARIE E. LOGAN
                                            Earthjustice

                                            Counsel for Plaintiffs-Appellants


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      Pursuant to Circuit Rule 25-5(e), I, Barbara J. Chisholm, attest that the other
signatories listed, and on whose behalf this filing is submitted, concur in the filing
content and have authorized this filing.

                                                By: s/ Barbara J. Chisholm




                                           55
         Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 66 of 78




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         a party or parties are filing a single brief in response to multiple briefs; or
         a party or parties are filing a single brief in response to a longer joint brief.

   complies with the length limit designated by court order dated                                           .
   is accompanied by a motion to file a longer brief pursuant to Cir. R. 32-2(a).


Signature      s/ Barbara J. Chisholm                                  Date Jul 22, 2022
(use “s/[typed name]” to sign electronically-filed documents)
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Form 8                                               56                                        Rev. 12/01/2018
           Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 67 of 78




                                       STATUTORY ADDENDUM
                                                Table of Contents
Endangered Species Act, 16 U.S.C. §1531 et seq. ........................................ Add-2
    §1533(a), (b)(1)(A) ...................................................................................... Add-2
    §1536(a)(2), (b)(3), (4) ................................................................................ Add-2
    §1536(d) ....................................................................................................... Add-3
Central Valley Project Improvement Act, Pub. L. No. 102-575
(1992) ................................................................................................................ Add-4
    §3404(c)(2) .................................................................................................. Add-4
    §3406(b) ....................................................................................................... Add-4
Reclamation and Irrigation of Lands by Federal Government,
43 U.S.C. Ch. 12............................................................................................... Add-5
    §372.............................................................................................................. Add-5
    §383.............................................................................................................. Add-5
    §390hh(a) ..................................................................................................... Add-5
    §485h(e) ....................................................................................................... Add-5
ESA Consultation Procedures, 50 C.F.R. §402.01 et seq. (as in
effect Oct. 27, 2019) ......................................................................................... Add-6
    §402.02......................................................................................................... Add-6
    §402.13......................................................................................................... Add-8
    §402.14(a), (b), (e), (g), (h), (j) .................................................................... Add-9
    §402.16....................................................................................................... Add-11
California Constitution ................................................................................. Add-12
    Cal. Const. art. X, §2 ................................................................................. Add-12



                                                         Add-1
        Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 68 of 78




                Endangered Species Act, 16 U.S.C. §1531 et seq.

                          16 U.S.C. §1533(a), (b)(1)(A):
(a) Generally
(1) The Secretary shall by regulation promulgated in accordance with subsection
(b) determine whether any species is an endangered species or a threatened species
because of any of the following factors: …
(b) (1)(A) The Secretary shall make determinations required by subsection (a)(1)
solely on the basis of the best scientific and commercial data available to him after
conducting a review of the status of the species and after taking into account those
efforts, if any, being made by any State or foreign nation, or any political
subdivision of a State or foreign nation, to protect such species, whether by
predator control, protection of habitat and food supply, or other conservation
practices, within any area under its jurisdiction, or on the high seas.
…

                         16 U.S.C. §1536(a)(2), (b)(3), (4):
(a) …
(2) Each Federal agency shall, in consultation with and with the assistance of the
Secretary, insure that any action authorized, funded, or carried out by such agency
(hereinafter in this section referred to as an “agency action”) is not likely to
jeopardize the continued existence of any endangered species or threatened species
or result in the destruction or adverse modification of habitat of such species which
is determined by the Secretary, after consultation as appropriate with affected
States, to be critical, unless such agency has been granted an exemption for such
action by the Committee pursuant to subsection (h) of this section. In fulfilling the
requirements of this paragraph each agency shall use the best scientific and
commercial data available.
…
(b) …
(3) (A)Promptly after conclusion of consultation under paragraph (2) or (3) of
subsection (a), the Secretary shall provide to the Federal agency and the applicant,
if any, a written statement setting forth the Secretary’s opinion, and a summary of
the information on which the opinion is based, detailing how the agency action
affects the species or its critical habitat. If jeopardy or adverse modification is
                                           Add-2
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 69 of 78




found, the Secretary shall suggest those reasonable and prudent alternatives which
he believes would not violate subsection (a)(2) and can be taken by the Federal
agency or applicant in implementing the agency action.
…

(4) If after consultation under subsection (a)(2), the Secretary concludes that--
  (A) the agency action will not violate such subsection, or offers reasonable and
        prudent alternatives which the Secretary believes would not violate such
        subsection;
  (B) the taking of an endangered species or a threatened species incidental to the
        agency action will not violate such subsection; and
  (C) if an endangered species or threatened species of a marine mammal is
         involved, the taking is authorized pursuant to section 1371(a)(5) of this
         title;
         the Secretary shall provide the Federal agency and the applicant concerned,
         if any, with a written statement that--
                (i) specifies the impact of such incidental taking on the species,
                (ii) specifies those reasonable and prudent measures that the Secretary
                     considers necessary or appropriate to minimize such impact,
                (iii) in the case of marine mammals, specifies those measures that are
                       necessary to comply with section 1371(a)(5) of this title with
                       regard to such taking, and
                (iv) sets forth the terms and conditions (including, but not limited to,
                     reporting requirements) that must be complied with by the Federal
                     agency or applicant (if any), or both, to implement the measures
                     specified under clauses (ii) and (iii).
…
                                 16 U.S.C. §1536(d):
…
(d) After initiation of consultation required under subsection (a)(2), the Federal
agency and the permit or license applicant shall not make any irreversible or
irretrievable commitment of resources with respect to the agency action which has
the effect of foreclosing the formulation or implementation of any reasonable and
prudent alternative measures which would not violate subsection (a)(2) of this
section.
…


                                         Add-3
        Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 70 of 78




                    Central Valley Project Improvement Act,
                     Pub. L. No. 102-575 (1992) (“CVPIA”)

                                CVPIA §3404(c)(2):
…
(c) …
(2) Upon renewal of any long-term repayment or water service contract providing
for the delivery of water from the Central Valley Project, the Secretary shall
incorporate all requirements imposed by existing law, including provisions of this
title, within such renewed contracts. The Secretary shall also administer all
existing, new, and renewed contracts in conformance with the requirements and
goals of this title.
…
                                 CVPIA §3406(b):
…
(b) Fish and Wildlife Restoration Activities.--The Secretary, immediately upon the
   enactment of this title, shall operate the Central Valley Project to meet all
   obligations under state and federal law, including but not limited to the federal
   Endangered Species Act, 16 U.S.C. s 1531, et seq., and all decisions of the
   California State Water Resources Control Board establishing conditions on
   applicable licenses and permits for the project. The Secretary, in consultation
   with other State and Federal agencies, Indian tribes, and affected interests, is
   further authorized and directed to:

(1) Develop within three years of enactment and implement a program which
   makes all reasonable efforts to ensure that, by the year 2002, natural production
   of anadromous fish in Central Valley rivers and streams will be sustainable, on
   a long-term basis, at levels not less than twice the average levels attained during
   the period of 1967-1991; …; Provided further, That the programs and activities
   authorized by this section shall, when fully implemented, be deemed to meet
   the mitigation, protection, restoration, and enhancement purposes established by
   subsection 3406(a) of this title; And provided further, That in the course of
   developing and implementing this program the Secretary shall make all
   reasonable efforts consistent with the 2 requirements of this section to address
   other identified adverse environmental impacts of the Central Valley Project not
   specifically enumerated in this section.
…


                                       Add-4
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 71 of 78




         Reclamation and Irrigation of Lands by Federal Government,
                              43 U.S.C. Ch. 12

                                  43 U.S.C. §372:

The right to the use of water acquired under the provisions of this Act shall be
appurtenant to the land irrigated, and beneficial use shall be the basis, the measure,
and the limit of the rights.

                                  43 U.S.C. §383:

Nothing in this Act shall be construed as affecting or intended to affect or to in any
way interfere with the laws of any State or Territory relating to the control,
appropriation, use, or distribution of water used in irrigation, or any vested right
acquired thereunder, and the Secretary of the Interior, in carrying out the
provisions of this Act, shall proceed in conformity with such laws, and nothing
herein shall in any way affect any right of any State or of the Federal Government
or of any landowner, appropriator, or user of water in, to, or from any interstate
stream or the waters thereof.
                               43 U.S.C. §390hh(a):


(a) The price of irrigation water delivered by the Secretary pursuant to a contract or
an amendment to a contract with a district, as specified in section 390cc of this
title, shall be at least sufficient to recover all operation and maintenance charges
which the district is obligated to pay to the United States.
…

                                43 U.S.C. §485h(e):
…
(e) In lieu of entering into a repayment contract pursuant to the provisions of
subsection (d) of this section to cover that part of the cost of the construction of
works connected with water supply and allocated to irrigation, the Secretary, in his
discretion, may enter into either short- or long-term contracts to furnish water for
irrigation purposes. Each such contract shall be for such period, not to exceed forty
years, and at such rates as in the Secretary’s judgment will produce revenues at
least sufficient to cover an appropriate share of the annual operation and
maintenance cost and an appropriate share of such fixed charges as the Secretary

                                        Add-5
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 72 of 78




deems proper, due consideration being given to that part of the cost of construction
of works connected with water supply and allocated to irrigation; and shall require
payment of said rates each year in advance of delivery of water for said year. In the
event such contracts are made for furnishing water for irrigation purposes, the costs
of any irrigation water distribution works constructed by the United States in
connection with the new project, new division of a project, or supplemental works
on a project, shall be covered by a repayment contract entered into pursuant to
subsection (d) of this section.
…


                         ESA Consultation Procedures,
               50 C.F.R. §402.01 et seq. (as in effect Oct. 27, 2019)

                                 50 C.F.R. §402.02:
Definitions.
Act means the Endangered Species Act of 1973, as amended, 16 U.S.C. 1531 et
seq.
Action means all activities or programs of any kind authorized, funded, or carried
out, in whole or in part, by Federal agencies in the United States or upon the high
seas. Examples include, but are not limited to:
     (a) actions intended to conserve listed species or their habitat;
     (b) the promulgation of regulations;
     (c) the granting of licenses, contracts, leases, easements, rights-of-way,
         permits, or grants-in-aid; or
     (d) actions directly or indirectly causing modifications to the land, water, or
         air.
…

Biological opinion is the document that states the opinion of the Service as to
whether or not the Federal action is likely to jeopardize the continued existence of
listed species or result in the destruction or adverse modification of critical habitat.
…

Conservation recommendations are suggestions of the Service regarding
discretionary measures to minimize or avoid adverse effects of a proposed action
on listed species or critical habitat or regarding the development of information.
…


                                         Add-6
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 73 of 78




Critical habitat refers to an area designated as critical habitat listed in 50 CFR parts
17 or 226.
…

Destruction or adverse modification means a direct or indirect alteration that
appreciably diminishes the value of critical habitat for the conservation of a listed
species. Such alterations may include, but are not limited to, those that alter the
physical or biological features essential to the conservation of a species or that
preclude or significantly delay development of such features.
…

Effects of the action refers to the direct and indirect effects of an action on the
species or critical habitat, together with the effects of other activities that are
interrelated or interdependent with that action, that will be added to the
environmental baseline. The environmental baseline includes the past and present
impacts of all Federal, State, or private actions and other human activities in the
action area, the anticipated impacts of all proposed Federal projects in the action
area that have already undergone formal or early section 7 consultation, and the
impact of State or private actions which are contemporaneous with the consultation
in process. Indirect effects are those that are caused by the proposed action and are
later in time, but still are reasonably certain to occur. Interrelated actions are those
that are part of a larger action and depend on the larger action for their
justification. Interdependent actions are those that have no independent utility apart
from the action under consideration.

Formal consultation is a process between the Service and the Federal agency that
commences with the Federal agency's written request for consultation under
section 7(a)(2) of the Act and concludes with the Service's issuance of the
biological opinion under section 7(b)(3) of the Act.
Framework programmatic action means, for purposes of an incidental take
statement, a Federal action that approves a framework for the development of
future action(s) that are authorized, funded, or carried out at a later time, and any
take of a listed species would not occur unless and until those future action(s) are
authorized, funded, or carried out and subject to further section 7 consultation.
…

Informal consultation is an optional process that includes all discussions,
correspondence, etc., between the Service and the Federal agency or the designated
non-Federal representative prior to formal consultation, if required.

                                        Add-7
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 74 of 78




Jeopardize the continued existence of means to engage in an action that reasonably
would be expected, directly or indirectly, to reduce appreciably the likelihood of
both the survival and recovery of a listed species in the wild by reducing the
reproduction, numbers, or distribution of that species.

Listed species means any species of fish, wildlife, or plant which has been
determined to be endangered or threatened under section 4 of the Act. Listed
species are found in 50 CFR 17.11–17.12.
…

Reasonable and prudent alternatives refer to alternative actions identified during
formal consultation that can be implemented in a manner consistent with the
intended purpose of the action, that can be implemented consistent with the scope
of the Federal agency's legal authority and jurisdiction, that is economically and
technologically feasible, and that the Director believes would avoid the likelihood
of jeopardizing the continued existence of listed species or resulting in the
destruction or adverse modification of critical habitat.
…

Recovery means improvement in the status of listed species to the point at which
listing is no longer appropriate under the criteria set out in section 4(a)(1) of the
Act.
…
                                 50 C.F.R. §402.13:
(a) Informal consultation is an optional process that includes all discussions,
correspondence, etc., between the Service and the Federal agency or the designated
non–Federal representative, designed to assist the Federal agency in determining
whether formal consultation or a conference is required. If during informal
consultation it is determined by the Federal agency, with the written concurrence
of the Service, that the action is not likely to adversely affect listed species or
critical habitat, the consultation process is terminated, and no further action is
necessary.
(b) During informal consultation, the Service may suggest modifications to the
action that the Federal agency and any applicant could implement to avoid the
likelihood of adverse effects to listed species or critical habitat.
//
//

                                        Add-8
        Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 75 of 78




                    50 C.F.R. §402.14(a), (b), (e), (g), (h), (j):
(a) Each Federal agency shall review its actions at the earliest possible time to
determine whether any action may affect listed species or critical habitat. If such a
determination is made, formal consultation is required, except as noted in
paragraph (b) of this section. The Director may request a Federal agency to enter
into consultation if he identifies any action of that agency that may affect listed
species or critical habitat and for which there has been no consultation. When such
a request is made, the Director shall forward to the Federal agency a written
explanation of the basis for the request.
(b) (1) A Federal agency need not initiate formal consultation if, as a result of the
     preparation of a biological assessment under § 402.12 or as a result of informal
     consultation with the Service under § 402.13, the Federal agency determines,
     with the written concurrence of the Director, that the proposed action is not
     likely to adversely affect any listed species or critical habitat.
(2) A Federal agency need not initiate formal consultation if a preliminary
     biological opinion, issued after early consultation under § 402.11, is confirmed
     as the final biological opinion.
…
(e) Formal consultation concludes within 90 days after its initiation unless
extended as provided below. If an applicant is not involved, the Service and the
Federal agency may mutually agree to extend the consultation for a specific time
period. If an applicant is involved, the Service and the Federal agency may
mutually agree to extend the consultation provided that the Service submits to the
applicant, before the close of the 90 days, a written statement setting forth:
      (1) The reasons why a longer period is required,
      (2) The information that is required to complete the consultation, and
      (3) The estimated date on which the consultation will be completed.
A consultation involving an applicant cannot be extended for more than 60 days
without the consent of the applicant. Within 45 days after concluding formal
consultation, the Service shall deliver a biological opinion to the Federal agency
and any applicant.
…
(g) Service responsibilities during formal consultation are as follows:
    (1) Review all relevant information provided by the Federal agency or
       otherwise available. Such review may include an on-site inspection of the
       action area with representatives of the Federal agency and the applicant.
                                       Add-9
        Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 76 of 78




    (2) Evaluate the current status of the listed species or critical habitat.
    (3) Evaluate the effects of the action and cumulative effects on the listed species
       or critical habitat.
    (4) Formulate its biological opinion as to whether the action, taken together
         with cumulative effects, is likely to jeopardize the continued existence of
         listed species or result in the destruction or adverse modification of critical
         habitat.
    (5) Discuss with the Federal agency and any applicant the Service's review and
         evaluation conducted under paragraphs (g)(1)–(3) of this section, the basis
         for any finding in the biological opinion, and the availability of reasonable
         and prudent alternatives (if a jeopardy opinion is to be issued) that the
         agency and the applicant can take to avoid violation of section 7(a)(2). The
         Service will utilize the expertise of the Federal agency and any applicant in
         identifying these alternatives. If requested, the Service shall make available
         to the Federal agency the draft biological opinion for the purpose of
         analyzing the reasonable and prudent alternatives. The 45–day period in
         which the biological opinion must be delivered will not be suspended unless
         the Federal agency secures the written consent of the applicant to an
         extension to a specific date. The applicant may request a copy of the draft
         opinion from the Federal agency. All comments on the draft biological
         opinion must be submitted to the Service through the Federal agency,
         although the applicant may send a copy of its comments directly to the
         Service. The Service will not issue its biological opinion prior to the 45–day
         or extended deadline while the draft is under review by the Federal agency.
         However, if the Federal agency submits comments to the Service regarding
         the draft biological opinion within 10 days of the deadline for issuing the
         opinion, the Service is entitled to an automatic 10–day extension on the
         deadline.
    (6) Formulate discretionary conservation recommendations, if any, which will
         assist the Federal agency in reducing or eliminating the impacts that its
         proposed action may have on listed species or critical habitat.
    (7) Formulate a statement concerning incidental take, if such take is reasonably
         certain to occur.
    (8) In formulating its biological opinion, any reasonable and prudent
         alternatives, and any reasonable and prudent measures, the Service will use
         the best scientific and commercial data available and will give appropriate
         consideration to any beneficial actions taken by the Federal agency or
         applicant, including any actions taken prior to the initiation of consultation.
…

                                        Add-10
         Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 77 of 78




(h) The biological opinion shall include:
 (1) A summary of the information on which the opinion is based;
 (2) A detailed discussion of the effects of the action on listed species or critical
    habitat; and
 (3) The Service's opinion on whether the action is likely to jeopardize the
    continued existence of a listed species or result in the destruction or adverse
    modification of critical habitat (a “jeopardy biological opinion”); or, the
    action is not likely to jeopardize the continued existence of a listed species or
    result in the destruction or adverse modification of critical habitat (a “no
    jeopardy” biological opinion). A “jeopardy” biological opinion shall include
    reasonable and prudent alternatives, if any. If the Service is unable to develop
    such alternatives, it will indicate that to the best of its knowledge there are no
    reasonable and prudent alternatives.
…

(j) The Service may provide with the biological opinion a statement containing
discretionary conservation recommendations. Conservation recommendations are
advisory and are not intended to carry any binding legal force.

                                  50 C.F.R. §402.16:

Reinitiation of formal consultation is required and shall be requested by the
Federal agency or by the Service, where discretionary Federal involvement or
control over the action has been retained or is authorized by law and:
     (a) If the amount or extent of taking specified in the incidental take statement is
         exceeded;
     (b) If new information reveals effects of the action that may affect listed species
         or critical habitat in a manner or to an extent not previously considered;
     (c) If the identified action is subsequently modified in a manner that causes an
         effect to the listed species or critical habitat that was not considered in the
         biological opinion; or
     (d) If a new species is listed or critical habitat designated that may be affected
         by the identified action.

//
//
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                                         Add-11
       Case: 21-15163, 07/22/2022, ID: 12500431, DktEntry: 31, Page 78 of 78




                             California Constitution

                              Cal. Const. art. X, §2:
It is hereby declared that because of the conditions prevailing in this State the
general welfare requires that the water resources of the State be put to beneficial
use to the fullest extent of which they are capable, and that the waste or
unreasonable use or unreasonable method of use of water be prevented, and that
the conservation of such waters is to be exercised with a view to the reasonable and
beneficial use thereof in the interest of the people and for the public welfare. The
right to water or to the use or flow of water in or from any natural stream or water
course in this State is and shall be limited to such water as shall be reasonably
required for the beneficial use to be served, and such right does not and shall not
extend to the waste or unreasonable use or unreasonable method of use or
unreasonable method of diversion of water. Riparian rights in a stream or water
course attach to, but to no more than so much of the flow thereof as may be
required or used consistently with this section, for the purposes for which such
lands are, or may be made adaptable, in view of such reasonable and beneficial
uses; provided, however, that nothing herein contained shall be construed as
depriving any riparian owner of the reasonable use of water of the stream to which
the owner’s land is riparian under reasonable methods of diversion and use, or as
depriving any appropriator of water to which the appropriator is lawfully entitled.
This section shall be self-executing, and the Legislature may also enact laws in the
furtherance of the policy in this section contained.




                                      Add-12
